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           Exhibit 1
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                                                                    OTficial Records of Coconino County                                                 3386186
                                                                     Candace Owens - Recorder ©S/31/2006 12:56!38 PM                                      Pgs~    20
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After Recording Return To:
COUNTRYWIDE HOME LOANS,
INC.
MS SV-79 DOCUMENT
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Prepared By:
KYLE CLAYTON

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                                                 (Escrow/C1osing              ~]                           [Doc      ID    :!fl

                                            DEED OF TRUST
                                                             MIN 1001337-0001411265-3




DEFINITIONS
Words used in multiple sections of this document are defined be1ow and other words are cjefined in Sections 3.
11, 13? 18,, 20 and 21. Certain rules regarding the usage of words used in this document are also provided in
Section 16.

(A) 0 Secnrity Instrmncnt" means this document, which is dated MAY 2 5 / 2 O O 6
together wlth all Riders to this document.
(,B) 0 Borrowcr0 is
MICHAEL J BROSNAHAN, A MARRIED MAN AS HIS SOLE & SEPARATE
PROPERTY




Borrower is the trustor under this Security Instrument. Borrower's mailing addre.c;s is
22 HUMMINGBIRD CIRCLE
SEDONA, AZ 86336
(C) "Lcndcr0 is
Countrywide Bank,                   N.A.
Lender is a
NATL. ASSN.
organized and existing under the Jaws of THE UNITED STATES

ARIZONA-Slngle    Famlty~FannieMae/Freddie Mac UNIFORM INSTRUMENT WITH MERS
                                                      Pago 1 of 11
~-6A{AZ} {0206)          CHL (OB/05)(d) VMP Mortgage So!utlons. Inc. {800)521-7291                       Form 3003 i/01 (rev. 6/02)
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                                                                DOC ID      *'    00013773362305006
Lender's mailing address is
1199 North Fairfax St. Ste.500
Alexandria, VA 22314
(D) "Trustee" is
FIDELITY NATIONAL TITLE INSURANCE COMPANY
Trustee's mailing address is
15661 REDHILL AVENUE,                   *200
TUSTIN, CA 92780
(E) •11\.1ERS 11 is Mortgage Electronic Registration Systems, Inc. lYIERS is a separate corporation that is acting
solely as a nominee for Lender and Lender's successors and assigns. MERS is the beneficiary under tllis
Security Instrument. MERS is organized and existing under the laws of Dela\vare~ and has: an address and
telephone number of P.O. Box 2026, Flint, Ml 48501-2026, tel. (888) 679-MERS.
(If) "Note" means the promissory note signed by Borrower and dated     MAY 2 5, 2 0 0 6
The Note states that Borrower owes Lender
THREE HUNDRED SEVENTY THREE THOUSAND FIVE HUNDRED and 00/100
Dollars (U.S.$ 3 7 3, 500 • O O              ) plus interest. Borro\ver has promised to pay this debt in regular
Peri0<Uc Payments and to pay the debt in full not later than    JUNE 0 1 , 2 0 3 6
(G) "Property" means the property that is described below under the heading "Transfer of Rights in the
Property."
(II) uLoan" means the debt evidenced by the Note. plus interest, any prepayment charges and late charges
due under the Note, and all sums due under this Security Instrument, plus interest.
(I) "Riders" means all Riders to this Security 1nstrument that are executed by Borrower. The following
Riders are to be executed by Borrower [check box as applicable]:

!XJ Adjustable Rate Rider D        Condominium Rider                  D Second Home Rider
D Balloon Rider           D        Planned Unit Development Rider     !XJ 1-4 Family Rider
OVA Rider                      D   Biweekly Payment Rider             D Other(s) [specify]

(J) uApplicable Law" means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well a.-> all applicable final.
non-appealable judicial opinions.
(K) ncommunity Association Dues, Fees, and Assessments" means all dues, fee...;;. assessments and other
charges that are imposed on Borrower or the Property by a condominium association. homeowners association
or similar organization.
(L) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check,
draft, or similar paper instrument, which is initiated through an electronic terminal~ telephonic instrument,
computer, or magnetic tape so as to order, instruct. or authorize a financial institution to debit or credit an
account. Such term includes, but is not limited to~ point-of~sale transfers, automated teJJer machine
transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
(M) "EscrO\Y Items .. means those items that are described in Section 3.
(N) "Dllisccllancous Proceeds 0 means any compensation~ settlement, award of damages, or proceeds paid by
any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage
to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii)
conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
condition of the Property.
(0) uMortgagc Insurance" means insurance protecting Lender against the nonpayment of, or default on~ the
Loan.
(P) '"Periodic Payment•~ means the regularly scheduled amount due for (i) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.
(Q) ,.RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to tim~ or
any additional or successor legislation or regulation that governs the same subject matter. As used in this
Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard to a
"federally rel~ted mortgage loan" even -if the Loan does not qualify as a "federally related mortgage Joan"
underRESPA.
(R) "Successor in Interest of Borro\ver" means any party that has taken title to the Property., whether or not
that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY
The beneficiary of this Security Instrument is NIERS (solely as nominee for Lender and Lender's successors
and a-Ssigns) and the successors and a-,signs of :rv.IBRS. This Security Instrument secures to Lender: (i) the



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tepayment of the Loan. and all renewals, extensions and modifications of the Note; and (ii) the performance of
Borrower's covenants and agreements under this Security Instrument and the Note. For this purpose, Borrower
irrevocably grants and conveys to Trustee, in trust, with power of sale, the following described property
located in the                           COUNTY                                of
                                    {Type of Recording Jurisdlclion]
                           COCONINO
    ~       (Name of Recording Jurisdiction] U tJ l""f'               :J_
LOT ~ OF CHAPEL BELLS ESTATES Ne-. 4, ACCORDING TO CASE .K OF
MAPS, PAGE 324, ·,;<\WP AFJi'I!)A.:VI:f OF CORRECTION AS liUsGORDEEl IN
DOCECET:f 1677, PAGE 9&&;- RECORDS OF COCONINO COUNTY, ARIZONA




                         tfOI   -s l-O'·H~
Parcel ID Number: A ll :h § :h 8 g 3                                                    which currently has the
address of
                                   21 Hummingbird Cir,                 Sedona
                                                       {Street/City]
Arizona 8 6 3 3 6 - 7 O 12 ("Property Address"):
            {Zip Code]
      TOGETHER WITH all the improvements now or hereafter erected on the property, and aJI eascmenL'),
appurtenances, and fixtures now or hereafter a part of the property. AH replacements and additions shall also
be covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the
"Property." Borrower understands and agrees that MBRS holds only legal title to the interests granted by
Borrower in this Security Instrument, but, if necessary to comply with law or custom~ MERS (as nominee for
Lender and Lender's successors and assigns) has the right: to exercise any or all of those interests, including,
but not limited to. the right to foreclose and sell the Property; and to take any action required of Lender
including. but not Hmited to, releasing and canceling this Security Instrument.
     BORROWER COVENANTS that Borro\ver is ]awfully seised of the estate hereby conveyed and has Ule
right to grant and convey the Property and that the Property is unencumbered, except for encumbrances of
record. Borrower warrants and will defend generally the title to the Properly against all claims and demands,
subject to any encumbrances of record.
     THIS SBCUR1TY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

      UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
      1. Payment of Principal, lntcrest, Escrow Items, Prepayment Charges, and Late Charges. Borrower
shall pay when due the principal of, and interest on. the debt evidenced by the Note and any prepayment
charges and late charges due nnder the Note. Borrower sha.11 also pay funds for Escrow Items pursuant to
Section 3. Payments due under the Note and this Security Instrument shall be made in U.S. currency.
However, if any check or other instrument received by Lender as payment under the Note or this Security
Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments due under
the Note and this Security Instrument be made in one or more of the following forms~ as selected by Lender:
(a) cash; (b) money order; (c) certified check, bank check, treru,,-urer's check or cashier's check, provided any
such check is dra'N!l upon an institution whose deposits are insured by a federal agency, instrumentality, or
entity; or (d) Electronic Funds Transfer.
      Payments are deemed .received by Lender when received at the location designated jn the Note or at such
other location a.<ii may be designated by Lender in accordance with the notice provisions in Section 15. Lender
may return any payment or partial payment if the payment or parlial payments are insufficient Lo bring the
Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan current.
without waiver of any rights herCunder or prejudice to its rights to refuse such payment or partial payments in
the future, but Lender is not obligated to apply such payment<> at the time such payments are accepted. If each
Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied
funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan current. If
Borrower does not do so within a reasonable period of time, Lender shall either app1y such funds or return



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them lo Borrower. If not applied earlier~ such funds will be applied to the outstanding principal balance under
the Note immediately prior to foreclosure. No offset or claim which Borrower might have now or in the future
against Lender shall relieve Borrower from making payments due under the Note and this Security Instrument
or performing the covenants and agreements secured by this Security Instrument.
     2. Application of Payments or Proceeds. Except as otherwise described in this Section 2 all payments
                                                                                                    7

accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the
Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to
 each Periodic Payment in the order in which it became due.. Any remaining amount.o; shall be applied first to
late charges, second to any other amounts due under this Security Instrument, and then to reduce the principal
balance of lhe Note.
        If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
 sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and the
late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment .received from
Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be paid in
full. To the extent that any excess exists after the payment is applied to the fun payment of one or more
Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be
applied first to any prepayment charges and then as described in the Note.
        Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
       3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under
the Note, until the Note is paid in full, a sum (the !<Funds") to provide for payment of amount.<> due for; (a)
 taxes and assessments- and other items which can attain priority over this Security Instrument ns a lien or
encumbrance on the Property; (b) leasehold payments or ground rents on the Property. if any; (c) premiums
for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or
any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in
accordance with the provisions of Section 10. These items are called "Escrow Items." At origination or at any
time during the term of the Loan, Lender may require that Community Association Dues, Fees~ and
Assessments, if any~ be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item.
Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower shall
pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any
or all Esc1·ow Items:. Lender may waive Borrower's obligation to pay to Lender Funds for any or all Escrow
Items at any lime. Any such waiver may only be in writing. In the event of such waiver, Borrower shall pay
directly~ when and where payable, the amounts due for any Escrow Items for which payment of Funds has
been waived by Lender and~ if Lender requires. shall furnish to Lender receipt."> evidencing such payment
within such time period as Lender 1nay require. Borrower's obligation to make such payments and to provide
receipts shall for an purposes be deemed to be a covenant and agreement contained in this Security
Instrument, a.<> the phrase "covenant and agreement" is used in Section 9. If Borrower is obligated to pay
Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item,
Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be obligated
under Section 9 to repay to Lender any such amount. Lender may revoke the waiver as Lo any or all Escrow
Ite1ns at any time by a notice given in accordance with Section 15 and, upon such revocation, Borrower shall
pay to Lender all Funds, and in such amounts, that are then required under this Section 3.
       Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
Fund<> at the time specified under RESPA, and (b) not to exceed the 1naximum amount a lender can require
under RESPA. Lender shall estimate the amount of Fund<> due on the bar;is of current data and reasonable
estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable Law.
       The Funds shall be held in an institution whose deposits are insured by a federal agency+ instrumentality,
or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home
Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under
RESP A. Lender shall not charge Borrower for holding and applying the Funds, annuaUy analyzing the escrow
account, or verjfying the Escrow Items~ unless Lender pays Borrower interest on the Funds and AppJicable
Law permits Lender to make such a charge. Unless an agreement is made in writing or Applicable Law
require.":> interest to be paid on the Funds~ Lender sha11 not be required to pay Borrower any interest or earnings
on the Funds. Borrower and Lender can agree in writing. however, that interest shall be paid on the Funds.
Lender shall give to Bor1·ower~ without charge. an annual accounting of the Funds as required by RESPA.
       If there is a surplus of Funds held in escrow, as defined underRESPA, Lender shall account to Borrower
for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined
under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the
amount necessary to make up the shortage in accordance with RESP.A. but in no more than 12 monthly
payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify
Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the
deficiency in accordance with RBSPA, but in no more than 12 monthly payments.
       Upon payment in full of all sums secured by this Security Instrument. Lender shall promptly refund to
Borrower any Funds held by Lender.




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       4. Charges; Liens. Borrower shall pay an taxes, assess1nents, charges. fines, and impositions attributable
to the Property which can attain priority over this Security Instrument, leasehold payment.c.i or ground rent.~ on
the Property. if any, and Community Association Dues, Fees, and Assessments~ if any. To the extent that these
item.-; are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
     Borrower shall promptly discharge any Hen which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or
defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the
enforcement of the lien while those proceedings are pending, but only until such proceedings are concluded;
or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating the lien to this
Security Instrument. If Lender deLennines that any part of the Property is subject to a lien which can auain
priority over this Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10 days
of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of the actions set
forth above in this Section 4.
      Lender rnay require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
service used by Lender in connection with this Loan.
      5. Property Insurance. Borrower shall keep the improve1nents now existing or hereafter erected on the
Property insured against loss by fire~ hazards included within the term "extended coverage," and any other
hazards including, but not limited to, earthquakes and floods, for which Lender requjres insurance. This
insurance shall be maintained in the amounts (including deductible leve1s) and for the periods that Lender
requires. What Lender requires pursuant to the preceding sentences can change during the term of the Loan.
The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's right to
disapprove BoITower's choice. which right shall not be exercised unrea.i;;onably. Lender may require Borrower
to pay, in connection with this Loan, either: (a) a one-time charge for flood zone determination, certification
and tracking services: or (b) a one-time charge for flood zone determination and certification services and
subsequent charges each time remappings or similar changes occur which reasonably might affect such
determination or certification. Borrower shall a1so be responsible for the payment of any fees imposed by the
Federal Emergency Management Agency in connection with the review of any flood zone determination
resulting from an objection by Borrower.
      If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular
type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might not protect
Borrower, Borrower's equity in the Property, or the contents of the Property~ against any risk, hazard or
liability and might provide greater or lesser coverage than was previously in effect. Borrower acknowledges
that the cost of the insurance coverage so obtained might significantly exceed the cost of insurance tl1at
Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall become additional
debt of Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate from
the date of disbursement and shall be payable. with such interest. upon notice from Lender to Borrower
requesting payment.
      All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right
to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as rnortgagcc
andlor as an additional loss payee. Lender shall have lhe right to hold the policies and renewal certificates. IC
Lender requires, Borrower shall promptly give to Lender aJJ receipts of paid premiums and renewal notices. If
Borrower obtains any form of insurance coverage. not othenvise .required by Lender, for damage to, or
destruction of, the Property. such policy shall include a standard mortgage clause and shall name Lender as
mortgagee and/or as an additional loss payee.
      In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borro ..ver. Unless Lender and Borrower otherwise agree in
writing, any insurance proceeds~ whether or not the underlying insurance was required by Lender, shaH be
applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender's security is not lessened. During such repair and restoration period, Lender shall have the right to hold
such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work has
been completed to Lender's satisfaction. provided that such inspection shall be undertaken promptly. Lender
may disburse proceeds for the repairs and restoration in a single payment or in a series of progress payment..<>
as the work is completed. Unless an agreement is made in writing or AppUcable Law requires interest to be
paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on
such proceeds. Fees for public adjusters> or other third parties, retained by Borrower shall not be paid out of
the insurance proceeds and shall be the sole obligation of Borrower. If the restoration or repair is not
economically feasible or Lender's security would be lessened, the insurance proceeds shall be applied to the
sums secured by this Security lnstrument, whether or not then due, with the excess, if any, paid to Borrower.
Such insurance proceeds shall be applied in the order provided for in Section 2.
      If Borrower abandons the Property~ Lender may file, negotiate and settle any available insurance claim
and related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance
carrier has offered to settle a claim, then Lender may negotiate and sett1e the claim. The 30-day period will
begin when the notice is given. In either event. or if Lender acquires the Property under Section 22 or
otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance proceeds in nn amount


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 not to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of Borrower's
 rights (other than the right to any refund of unearned premiums paid by Borrower) under aU insurance policies
 covering the Property~ insofar a':! such rights are applicable to the coverage of the Property. Lender may use
 the jnsurance proceeds either to repair or restore the Property or to pay amounts unpaid under the Note or this
 Security Instrument. whether or not then due.
       6. Occupancy. Bori·ower shall occupy, establish, and use the Property as. Borrower's principal residence
 within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as
 Borrower's principal residence for at least one year after the date of occupancy, unless Lender other.vise
 agrees in writing, which consent shall not be unreasonably withheld~ or unless extenuating circumstances exist
 which are beyond Borrower's control.
       7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent
 the Property from deterio1-ating or decreasing in value due to its condition. Unless it is determined pursuant to
Section 5 that repair or restoration is not economically feasible, Borrower sha11 promptly repair the Property if
damaged to avoid further deterioration or damage. If insurance or condemnation proceeds are paid in
connection with damage to~ or the taking of, the Property, Borrower shall be responsible for repairing or
re.<>toring the Property only if Lender has released proceeds for such purposes. Lender may disburse proceeds
for the repairs and restoration in a single payment or in a series of progress payments as the work is
completed. If the insurance or condemnation proceeds are not sufficient to repair or restore the Property,
Borrower is not relieved of Borrower's obligation for the completion of such repair or restoration.
       Lender or its agent may make reasonable entries upon and inspections of the Property. If it hns
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shn11 give
Borrower notice at the titne of or prior to such an interior inspection specifying such reasonable cause.
       8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or
consent gave materially false, misleading, or inaccurate information or statements to Lender (or faiJed to
provide Lender with material information) in connection with the Loan. Material representations include, but
are not limited to, representations concerning Borrower's occupancy of the Property as Borrower's principal
residence.
       9. Protection of Lender's Int.crest in the Property and Rights Under tltis Security Instrwncnt. lf (a)
Borrower fails to perfonn the covenants and agreements contained in this Security Instrument,. (b) there is a
legal proceeding that might significantly affect Lender's interest in the Property and/or rights under this
Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
enforce1nent of a lien which may attain priority over this Security Instrument or to enforce laws or
regulations)~ or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender's interest in the Property and rights under this Security Instrument,
including protecting and/or assessing the value of the Property, and securing and/or repairing the Property.
Lender's actions can include, but are not limited to: (a) paying any sums secured by a lien which hn.'i priority
over this SecuriLy Instrument; (b) appearing in court; and (c) paying reasonable attorneys1 fees to protect its
interest in the Property and/or rights under this Security Instrument, including its secured position in a
bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to make
repairs, change locks. replace or board up doors and windows, drain water from pipes, eliminate building or
other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take
action under this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It
is agreed that Lender incurs no liability for not taking any or all actions authorized under this Section 9.
      Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured
by this Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement
and shall be payable, with such interest, upon notice from Lender to Borrower requesting payment.
      If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lea.'Je.
If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unlc.<;s Lender
agrees to the merger in writing.
      10. Mortgage Insurance~ If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason. the
Mortgage Insurance coverage required by Lender ceru;es to be available from the mortgage insurer that
previously provided such insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
substantially equivalent to the Mortgage Insurance previously in effect, at a cost sub.~tantially equivalent to the
cost to Borrower of the Mortgage Insurance previously in effect. from an alternate mortgage insurer selected
by Lender. If substantially equivalent Mortgage Insurance coverage is not availab1e; Borrower shaH continue
to pay to Lender the amount of the separately designated payments that were due when the jnsurance coverage
ceased to be in effect. Lender will accept, use and retain these payments as a non-refundable Joss reserve in
lieu of Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan
is uJtimate1y paid in fu11, and Lender shall not be required to pay Borrower any interest or earnings on such
loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the
amount and for the period that Lender requires) provided by an insurer selected by Lender again becomes


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available, is obtained, and Lender requires separately designated payments toward the premiun1s for Mortgage
Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
required to make separately designated payments to\vard the premiums for Mortgage Insuranc~ Borrower
shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a        non~refundable    loss
reserve, until Lender's requirement for Mortgage Insurance ends in accordance with any \Vritten agreement
between Borrower and Lender providing for such termination or until termination is required by Applicable
Law. Nothing in this Section lQ.affects Borrower's obligation to pay interest at the rate provided in the Note.
         Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
         Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter
into agreements with other parties that share or modify their risk, or reduce losses. These agreements are on
ternti:;, and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these
agreements. These agreements may require the mortgage insurer to make payments using any source of funds
that the mortgage insurer may have available (which may include funds obtained from Mortgage Insurance
premiums).
         As a result of these ag1-eements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
other entity,. or any affiliate of any of the foregoing~ may receive (directly or indirectly) amounts that derive
from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for
sharing or modifying the mortgage insurer's risk~ or reducing losses. If such agreement provides that an
affiliate of Lender takes a share of the insurer's risk in exchange for a share of the premiums paid to the
insurer, the arrangement is often termed "captive reinsurance." Further:
         (a) Any such agreements 'vill not affect the amounts that Borrower has agreed to pay for Mortgage
Insurance, or any ot11cr terms of the Loan. Such agreements 'vill not increase the amount Borro\ver \Vill
o've for Mortgage Insurance, and they will not entitle Borrower to any refund.
         (b) Any such agreements will not all'ect tl1e rights Borrower has - if any - witl1 respect to tl1e
Mortgage Insurance under the Homeowners Protection Act of 1998 or any otl1cr law. These rig11ts mny
include the right to receive certain disclosures, to request and obtain cancellation of tl1e Mortgage
Insuranc~ to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any
Mortgage Insurance premiums that were unearned at the time of such cancellation or termination~
         11.. Assignment of l\.fisccllancous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to and shall be paid to Lender.
         If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
Property, if the restoration or repair is economical1y feasible and Lender's security is not lessened. During such
repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceed~ untiJ Lender has:
had an opportunity to inspect such Property to ensure the \vork has been completed to Lender's satisfaction,
provided that such inspection shal1 be undertaken promptly. Lender may pay for the repairs and restoration in
a single disbursement or in a series of progress payments as the work is completed. Unless an agreement is
made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall
not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or
repair is not econo1nically feasible or Lender's security would be lesscne~ the Miscellaneous Proceeds shall
be applied to the sums secured by this Security Instrument, whether or not then due,. "vith the excess, if any.
paid to Borrower. Such lvfiscellaneous Proceeds shall be applied in the order provided for in Section 2.
         In the event of a total taldng? destruction, or loss in value of the Property. the Misce11ancous Proceeds
shaU be applied to the sums secured by this Security Instmmen4 whether or not then due. with the excess, if
any, paid to Borrower.
         In the event of a partial taking,. destruction, or loss in value of the Property in which the fair market value
of the Ptoperty immediately before the partial taking, destruction. or loss in value is equal to or greater than
the amount of the sums secured by this Security Instrument immediately before the partial taking~ destruction,
or los.'> in value, unless Borrower and Lender otherwise agree in writing~ the sums secured by this Seeurit.y
Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the following fraction:
(a) the total amount of the sums secured im1nediately before the partial taking, destruction, or 1os8 in value
divided by (b) the fair market value of !he Property im1nediately before the partial taking, de.'>truction. or loss
in value. Any balance shall be paid to Borrower.
         In the event of a partial taking, destruction" or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value is less than the amount of
the sums secured immediately before the partial taking, destruction, or loss in value, unless Borrower and
Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this
Security Instrument whether or not the sums are then due.
         If the Property is abandoned by Borrower, or if~ after notice by Lender to Borrower that the Opposing
Party (as defined :in the next sentence) oITers to make an award to settle a claim for damages, Borrower fails to
respond to Lender within 30 days after the date the notice is given, Lender is authorized to collect and apply
the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by this
Security Instrument, whether or not then due. "Opposing Party" means the third party that owes Borrower
Miscellaneou8 Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous
PtoceedS.
         Borrower shall be in default if any action or proceeding~ whether civH or criminal, is begun that., in
Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's interest

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in the Property or rights under this Security Instrument. Borrower can cure such a default and, if acceleration
has occurred, reinstate as provided in Section 19> by causing Ule action or proceeding to be dismissed with a
ruling that, in Lender's judgment. precludes forfeiture of the Property or other material impairment of Lender's
interest in the Property or rights under this Security Instrument. The proceeds of any award or claim for
damages that are attributable to the impairment of Lender's interest in the Property are hereby assigned and
shall be paid to Lender.
      All Miscellaneous Proceeds that are not appfied to restoration or repair of the Property shall be applied in
 the order provided for in Section 2.
      12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender to
Borrower or any Successor in Inlerest of Bon·ower shall not operate to release the liability of Borrower or any
Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
 Succes.~or in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization of
the sums secured by this Security Instrument by reason of any demand made by the original Borrower or any
Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy including,
 without limitation, Lender's acceptance of payments from third persons~ entities or Successors in Interest of
Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any
right or re1nedy.
      13. Joint and Several Liability; Co-signers; Successors and Assigns lJound~ Borrower covenants. and
agrees that Borrower's obligations and liability shall be joint and several. However. any Borrower who
co-signs this Security Instrument but does not execute the Note (a "co-signer!<): (a) is co-signing this Security
Instrument only to mortgage. grant and convey the co-signer's interest in the Property under the terms of this
Security Instrument; (b) is not personally obligated to pay the sums secured by this Security Instrument; and
(c) agrees that Lender and any other Borrower can agree to extend, modifyt forbear or make any
accommodations with regard to the terms of this Security Instrument or the Note without the co-signer's
consent.
      Subject to the provisions of Section 18, any Successor in Intere..'":>t of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender~ shal1 obtain an of Borrower's
rights and benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations
and liability under this Security Instrument unless Lender agrees to such release in writing. The covenants and
agreements of this Security Instrument shall bind (except as provided ln Section 20) and benefit the successors
and assigns of Lender.
      14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default,. for the purpose of protecting Lender's interest in the Property and rights under this
Security Instrument. including. but not limited to, attorneys' fees, property inspection and valuation fees. Jn
regard to any other fees, the absence of express authority in this Security Instrument to charge n specific fee to
Borrower shaH not be construed as a prohibition on the charging of such fee. Lender may not charge fees that
are expressly prohibited by this Sectirity Instrument or by Applicable Law.
      If the Loan is subject to a law which sets maximum loan charges, and that Jaw is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limit<?, then: (a) any such Joan charge shall be reduced by the amount necessary to reduce the charge
lo the permitted limit; and (b) any surns already collected from Borrower which exceeded pcnnitted Jimits will
be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed under the
Note or by making a direct payment to Borrower. If a refund reduces principal~ the reduction win be treated as
a partial prepayment without any prepayment charge (whether or not a prepayment charge is provided for
under the Note). Borrower's acceptance of any such refund made by direct payment to Borrower will
constitute a waiver of any right of action Borrower might have arising out of such overcharge.
      15~ Notices. All notices given by Borrower or Lender in connection with this Security Instrument must
be in \vriting. Any notice to Borrower in connection with this Security Instrument shall be deemed to have
been given t'O Borrower when mailed by first class mail or when actually delivered to Borrower's notice
address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless
Applicable Law expressly requires otherwise. The notice address shall be the Property Address unles:,.i;;
Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
Lender of Borrower's change of addre.-:;s. If Lender specifies a procedure for reporting Borrower's change of
address. then Borrower shall only report a change of address through that specified procedure. There may be
only one designated notice address under this Security Instrument at any one time. Any notice to Lender shall
be given by delivering it or by mailing it by first class mail to Lender's address stated herein unless Lender has
designated another address by notice to Borrower. Any notice in connection with this Security Instrument
shall not be deemed to have been given to Lender until actually received by Lender. If any notice required by
this Security Instrument is also required under Applicable Law, the Applicab1e Law requirement \Vill satisfy
the corresponding requirement under this Security Instrument.
      16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed
by federal law and the law of the jurisdiction in which the Property is located. All rights and obligations
contained in this Security Instrument are subject to any requirements and limitations of Applicable Law.
Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent. but
such silence shall not be construed as a prohibition against agreement by contract. Jn the event that any


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 provision or clause of this Security Instrument or the Note conflicts with Applicable Law,_ such conflict sha1J
 not affect other provisions of this Security Instrument or the Note which can be given effect without the
 conflicting provision.
       As used in this Security Instrument: (a) words of the ma:;culine gender shall mean and include
 corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and include
 the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to take any
 action.
      17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.
      18. Transfer of the Property or a Beneficial Interest in Borrower.. As used in this Section 18,_
"Interest in the Property" means any legal or beneficial interest in the Property, including, but not Jimited to,
those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or escrow
agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.
      If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not
a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
      If Lender exercises this option, Lender shall give Borro\ver notice of acceleration. The notice shaH
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further notice or demand on Borrower.
      19. Borrower's l:Ugl1t to Reinstate After Acceleration. If Borrower meets certain conditions~ Borrower
shall have the right to have enforcement of this Security Instrument discontinued at any time prior to the
earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in this Security
Instrument; (b) such other period as Applicable Law might specify for the termination of Borrower's right to
reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those conditions are that Borrower:
(a) pays Lender aJl sums which then would be due under this Security Instrument and the Note us if no
acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses
incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys' fees,
property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's interest
in the Properly and rights under this Security Instrument; and (d) takes such action as Lender may reasonably
require to assure that Lender's interest in the Property and right.-q under this Security Instrument, and
Borrower's obligation to pay the sum.;;; secured by this Security Instrument, sha1l continue unchanged. Lender
may require that Borrower pay such reinstatement sums and expenses in one or more of the following forms,,
as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's
check, provided any such check is drawn upon an institution whose deposits are insured by a federal agency.
instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security
Instrument and obligations secured hereby shall remain fully effective as if no acce1eration had occurred.
However~ this right to reinstate shall not apply in the case of acceleration under Section 18.
      20* Sale of Note; Cl1angc of Loan Servicer; Notice of Grievance. The Note or a partial interest in the
Note (together with this Security Instrument) can be sold one or more times without prior notice to Borrower.
A sale might result in a change in the entity (known as the "Loan Servicer,.) that collects Periodic Paymcntn
due under the Note and this Security Instrument and performs other mortgage loan servicing obligations under
the Note, this Security Instrument, and Applicable Law. There also might be one.or more changes of the Loan
Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower will be given
written notice of the change which will state the name and address of the new Loan Servicer, the address t.o
which payments should be made and any other information RESPA requires in connection with a notice of
tl'ansfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer olher than the
purchaser of the Note, the mol'tgage loan servicing obligations to Borrower wi11 remain with the Loon Servicer
or be transferred to a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise
provided by the Note purchaser.
      Neither Borrower nor Lender may commence, join? Ol' be joined to any judicial action (as either an
individual litigant. or the membcl' of a class) that arises from the other party's actions pursuant to this Security
Instrument or that alleges that the other party has breached any provision of~ or any duty owed by reason of,
this Security Instru1nent, until such Borrower or Lender has notified the other party (with such notice given in
compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
reasonable period aftel' the giving of such notice to take COl'rective action. lf App1icab1e Law provides a ti.me
pe11od which must elapse before certain action can be taken. that time period will be deemed to be reasonabie
for pul'poses of this pru-agraph. The notice of acceleration and opportunily to cure given to Borrower pursunnt
to Section 22 and the notice of acceleration given to Borrowel' pursuant to Section 18 shall be deemed to
satisfy the notice and opportunity to take corrective action provisions of this Section 20.
      21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances
defined as toxic or hazardous substances, pollutants. or wastes by Environmental Law and the following
substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides,
vo1ati1e solvents~ materials containing asbestos or formaldehyde, and radioactive materials; (b)



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"Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that rc1ate
to health~ safety or environmental protection; (c) "Environmental Cleanup" includes any response action,
re1nedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental Condition"
means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.
     Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor
anow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b)
which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous
Substance, creates a condition that adversely affects the value of the Property. The preceding two sentent:es
shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous Substances
that are generally recognized to be appropriate to normal residential uses and to maintenance of the Property
(including, but not limited to. hazardous substances in consumer products).
      Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand,, lawsuit or
other action by any governmental or regulatory agency or private party involving: the Property and any
Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any Environmental
Condition. including but not Hmited to, any spilling, leaking~ discharge. release or threat of release of any
Hazardous Substance, and (c) any condition caused by the presence, use or release of a Hazardous Substance
\vhich adversely affects the value of the Property. If Borrower Jeams, or ls notified by any governmental or
regulatory authority, or any private party, that any removal or other remediation of any Hazardous Substance
affecting the Property is necessary, Borrower shall promptly take all necessary remedial actions in accordance
with Environmental Law. Nothing herein shall create any obligation on Lender for an Environmental Cleanup,

      NON-UNIFORM COVENANTS. :Sorrower and Lender further covenant and agree as follows:
      22. Acceleration; Remedies. Lender shall give notice to Borrower prior to ncceJcrution following
Borrower's breach of any covenant or agreement in iltis Security Instrument (but not prior to
 acceleration under Section 18 unless Applicable Law provides otherwise). The notice sl1all specify: (a)
 the default; (b) the action required to cure the dcl'ault; (c) a date, not less tl1an 30 days from the date the
notice is given to Borrower, by whlclt the default must be cured; and (d) ibat failure to cure 01e default
on or before the date specified in the notice may result in acceleration of tlte sums secured by Olis
Security Instrument and sale of the Property~ The notice sha11 further inform Borro,ver of tl1c rjght to
reinstate after acceleration and the right to bring a court action to assert tl1e non-existence of a default
or any other def'cnsc of Borrower to acceleration and sale. If the default is not cured on or before the
date spccilicd in the notice, Lender at its option may require immediate payment in full of u:IJ swns
sccul·cd by this Security Instrument without furtl1cr demand and may invoke the power of sale and any
otlter remedies permitted by Applicable La,v. Lender shaH be entitled to collect all expenses incurred in
pursuing the remedies provided in this Section 22, including, but not limited to, reasonable attorneys'
fees and costs of title evidence.
      If Lender invokes the power of sale, Lender shall give written notice to Trustee of' tl1c occurrence or
an event of default and of Lender's election to cause the Property to be sold. Trustee shall record a
notice of sale in each county in which any part of tl1e Property is located and shan mail copies of the
notice as prescribed by Applicable Law to Borrower and to the other persons prescribed by Applicable
Law. After the tim.c required by Applicable Law and after publication and posting 01' Ute notice of sale,
'1"rustee, without demand on Borrower, shall sen the Property at public auction to tlte highest bidder for
cash at the time and place designated in the notice of sale. 'l'rustcc :may postpone sale or the Property by
public announcement at the time and place of any previously scheduled sale. Lender or its designee inay
purcl1asc tb.e Property at any sale.
      Trustee sl1all deliver to the purchaser Trustee's deed conveying the Propet·ty witl1out any covenant
or warranty, expressed or implied. The recitals in the Trustcets deed shall be prim.a t'acic evidence of the
truth of the statements made therein. Trustee shal1 apply the proceeds of tile sale in U1e following order:
(a) to all expenses of tltc sale, including, but not limited to, reasonable Trustee's and atiorneyst fees; (b)
to all sums secured by this Security Instrument; and (c) any excess to tl1e person or persons legally
entitled to it or to the county treasurer of the county in which the sale took place.
      23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this
Security Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for
releasing this Security Instrument, but only if the fee is paid to a third party for services rendered and the
charging of the fee is permitted under Applicable Law.
      24. Substitute Trustee. Lender may. for any reason or cause. from time to time re1nove Trustee and
appoint a successor trustee to any Trustee appointed hereunder. Without conveyance of the Property. the
successor trustee shal1 succeed to all the title, power and duties conferred upon Trustee herein and by
Applicable Law.
      25. Time of Essence. Time is of the essence in each covenant of this Security Instrument.




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     BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Security Instrument and in any Rider executed by Borrower and recorded with it.




                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-<Seru)
                                                                                          ~Borrower'




                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-<Seru)
                                                                                          ~Borrower




                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-<Seru)
                                                                                          -Borrower




STATE OF ARIZONA,




My Commission Expires:
                         3/:J-joC




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           Exhibit 2
                                                      ." .
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Prepared by: KYLE CLAYTON
                                                                                                          LOAN #: 137733623

                                      ADJUSTABLE RATE NOTE
                              (MTA-Twelve Month Average-Index - Payment Caps)




THIS NOTE CONTAINS PROVISIONS THAT WILL CHANGE THE INTEREST RATE AND THE MONTHLY
PAYMENT. THERE MAY BE A LIMIT ON THE AMOUNT THAT THE MONTHLY PAYMENT CAN INCREASE OR
DECREASE. THE PRINCl.PAL AMOUNT TO REPAY COULD BE GREATER THAN THE AMOUNT ORIGINALLY
BORROWED, BUT NOT MORE THAN THE MAXIMUM LIMIT STATED IN THIS NOTE.

        MAY 25, 2006                                        SEDONA                                              ARIZONA
              [Date)                                           [City]                                              (State)

                                  21   Hummingb~rd       Cir, Sedona, AZ 86336-7012
                                                          [Property Address)


1.    BORROWER'S PROMISE TO PAY
      In return for a loan that I have received, l promise to pay U.S. $ 37 3, 500. 00           (this amount is called "Principal"),
plus interest, to the order of Lender. The Principal amount may increase as provided under the terms of this Note but will never
exceed           115 percent of the Principal amount I originally borrowed. This is called the "Maximum Limit." Lender is
Countrywide Bank, N.A.
I will make all payments under this Note in the form of cash, check or money order.
      I understand that Lender may transfer this Note. Lender or anyone who takes this Note by transfer and who is entitled to
receive payments under this Note is called the "Note Holder."

2.     INTEREST
       (A) Interest Rate
      Interest will be charged on unpaid Principal until the full amount of Principal has been paid. Up until the first day of the
calendar month that immediately precedes the first monthly payment due date set forth in Section 3 of this Note, I will pay interest
at a yearly rate of      8 . 12 5 %. Additional days interest collected prior to the first monthly payment due date is sometimes
called "Per Diem" interest and is due at the time l close my loan. Thereafter until the first Interest Rate Change Date, defined
below in Section 2(B), I will pay interest at a yearly rate of       3. 2 50 %. This rate is sometimes referred to as the "Start
Rate" and is used to calculate the initial monthly payment described in Sectipn 3. The interest rate required by this Section 2 of
this Note is the rate I will pay both before and after any default described in Section 7(B) of this Note.

       (B) Interest Rate Change Dates
      The interest rate I will pay may change on the first                       day of JULY, 2006                     ,and on
that day every month thereafter. Each date on which my interest rate could change is called an "Interest Rate Change Date." The
new rate of interest will become effective on. each Interest Rate Change Date. The interest rate may change monthly, but the
monthly payment is recalculated in accordance with Section 3.

     (C) Index
     Beginning with the first Interest Rate Change Date, my adjustable interest rate will be based on an Index. The "Index" is the
"Twelve-Month Average" of the annual yields on actively traded United States Treasury Securities adjusted to a constant maturity
of one year as published by the Federal Reserve Board in the Federal Reserve Statistical Release entitled "Selected Interest Rates

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                                                                                                          LOAN #: 137733623
(H.15)" (the "Monthly Yields"). The Twelve Month Average is determined by adding together the Monthly Yields for the most
recenlly available twelve months and dividing by 12. The most recent Index figure available as of the date 15 days before each
Interest Rate Change Date is called the "Current Index".        .
     If the Index is no longer available, the Note Holder will choose a new index that is based upon comparable information. The
Note Holder will give me notice of this choice.

      (D) Calculation of Interest Rate Changes
      Before each Interest Rate Change Date, the Note Holder will calculate my new interest rate by adding
FOUR                                      percentage point(s)     4. 00 0 ("Margin") to the Current Index. The Note Holder will
then round the result of this addition to the nearest one-eighth of one percentage point (0.125%). This rounded amount will be my
new interest rate until the next Interest Rate Change Date. My interest will never be greater than      9. 950 %. Beginning with
the first Interest Rate Change Date, my interest rate will never be lower than the Margin.

3.   PAYMENTS
     (A) Time and Place of Payments
     I will make a payment every month.
     1 will make my monthly payments on the first                       day of each month beginning on
 JULY 01, 2 0 0 6                 . I will make these payments every month until I have paid all the Principal and interest and any
other charges described below that I may owe under this Note. Each monthly payment will be applied ac; of its scheduled due date
and will be applied lo interest before Principal. If, on JUNE 01, 2 036                , I still owe amounLc; under this Note, I will
pay those amounts in full on that date, which is called the "Maturity Date."
     I will make my monthly payments at
P.O. Box 10219, Van Nuys, CA 91410-0219
or at a different place if required by the Note Holder.

    (B) Amount of My Initial Monthly Payments
    Each of my initial monthly · payments until the first Payment Change Date will be in the amount of U.S.
$1, 625. 50          , unless adjusted under Section.3(F).

     (C) Payment Change Dates
     My monthly payment may change as required by Section 3(D) below beginning on the first                                day of
JULY, 2007              , and on that day every 12th month thereafter. Each of these dates is called a "Payment Change Date." My
monthly payment also will change at any time Section 3(F) or 3(G) below requires me to pay a different monthly payment. The
"Minimum Payment" is the minimum amount Note Holder will accept for my monthly payment which is determined at the lac;t
Payment Change Date or as provided in Section 3(F) or 3(G) below. If the Minimum Payment is not sufficient to cover the
amount of the interest due then negative amortization will occur.
     I will pay the amount of my new Minimum Payment each month beginning on each Payment Change Date or ac; provided in
Section 3(F) or 3(G) below.

     (D) Calculation of Monthly Payment Changes
       At leac;t 30 days before each Payment Change Date, the Note Holder will calculate the amount of the monthly payment that
would be sufficient to repay the unpaid Principal that I am expected to owe at the Payment Change Date in full on the maturity
date in.substantially equal payments at the interest rate effective during the month preceding the Payment Change Date. The result
of this calculation is called the "Full Payment." Unless Section 3(F) or 3(G) apply, the amount of my new monthly payment
effective on a Payment Change Date, will not increase by more than               7. 500% of my prior monthly payment. This
    7 . 5 0 O% limitation is called the "Payment Cap." This Payment Cap applies only to the Principal and interest payment
and does not apply to any escrow payment<; Lender may require under the Security Instrument. The Note Holder will apply the
Payment Cap by taking the amount of my Minimum Payment due the month preceding the Payment Change Date and multiplying
it by the number         1. 07 5 . The result of this calculation is called the "Limited Payment." Unless Section 3(F) or 3(G)
below requires me to pay a different amount, my new Minimum Payment will be the lesser of the Limited Payment and the Full
Payment.

      (E) Additions to My Unpaid Principal
      Since my monthly payment amount changes less frequently than the interest rate, and since the monthly payment is subject
to the payment limitations described in Section 3(D). my Minimum Pay~ent could be less than or greater than the amount of the
interest portion of the monthly payment that would be sufficient to repay the unpaid Principal 1 owe at the monthly payment date

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                                                                                                           LOAN #: 137733623
in full on the Maturity Date in substantially equal payments. For each month that my monthly payment is less than the interest
portion, the Note Holder will subtract the amount of my monthly payment from the amount of the interest portion and will add the
difference to my unpaid Principal, and interest will accrue on th~ amount of this difference at the interest rate required by Section
2. For each month that the monthly payment is greater than the interest portion, the Note Holder will apply the payment as
provided in Section 3(A).

      (F) Limit on My Unpaid Principal; Increased Monthly Payment
      My unpaid Principal can never exceed the Maximum Limit equal toONE HUNDRED FIFTEEN                                    percent
(        115 % ) of the Principal amount I originally borrowed. My unpaid Principal could exceed that Maximum Limit
due to Minimum Payments and interest rate increa')es. In that event, on the date that my paying my Minimum Payment would
cause me to exceed that limit, I will instead pay a riew Minimum Payment. This means that my monthly payment may change
more frequently than annually and such payment changes will not be limited by the Payment Cap. The new Minimum Payment
will be in an amount that would be sufficient to repay my then unpaid Principal in full on the Maturity Date in substantially equal
payment') at the current interest rate.

      (G) Required Full Payment
      On the tenth            Payment Change Date and on each succeeding fifth Payment Change Date thereafter, l will
begin paying the Full Payment as my Minimum Payment until my monthly payment changes again. I also will begin paying the
Full Payment a') my Minimum Payment on the final Payment Change Date.

      (H) Payment Options
      After the first Interest Rate Change Date, the Note Holder may provide me with up to three (3) additional payment options
that are greater than the Minimum Payment, which are called "Payment Options." The Payment Options are calculated using the
new interest rate in accordance with Section 2(D). I may be given the following Payment Options:
            (i) Interest Only Payment: the amount that would pay the interest portion of the monthly payment. The Principal
      balance will not be decreased by this Payment Option and it is only available if the interest portion exceeds the Minimum
      Payment.
            (ii) Amortized Payment: the amount necessary to pay the loan off (Principal and interest) at the Maturity Date in
      substantially equal payment<;. This monthly payment amount is calculated on the assumption that the current rate will remain
      in effect for the remaining term.
            (iii) 15 Year Amortized Payment: the amount necessary to pay the loan off (Principal and interest) within a fifteen
      (15) year term from the first payment due date in substantially equal payments. This monthly payment amount is calculated
      on the assumption that the current rate will remain in effect for the remaining term.
      These Payment Options are only applicable if they are greater than the Minimum Payment.

4.   NOTICE OF CHANGES
     The Note Holder will deliver or mail to me a notice of any changes in the amount of my monthly payment before the
effective date of any change. The notice will include information required by law to be given to me and also the title and
telephone number of a person who will answer any question I may have regarding the notice.

5.    BORROWER'S RIGHT TO PREPAY
      I have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
"Prepayment." When I make a Prepayment, I will tell the Note Holder in writing that I am doing so. I may not designate a
payment ac; a Prepayment if I have not made all the monthly payments due under this Note.
      I may make a full Prepayment or partial Prepayments without paying any Prepayment charge. The Note Holder will use my
Prepayments to reduce the amount of Principal that I owe under this Note. If I make a partial Prepayment, there will be no
changes in the due dates of my monthly payments. My partial Prepayment may reduce the amount of my monthly payments after
the first Payment Change Date following my partial Prepayment. However, any reduction due to my partial Prepayment may be
offset by an interest rate increase.

6.    LOAN CHARGES
      If a law, which applies to this loan and which set') maximum loan charges, is finally interpreted so that the interest or other
loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any such loan charge
shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected from me




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                                                                                                        LOAN t: 137733623
that exceeded pennitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the Principal
I owe under this Note or by making a direct payment to me. If a refund reduces Principal, the reduction will be treated as a partial
Prepayment.

7.   BORROWER'S FAILURE TO PAY AS REQUIRED
     (A) Late Charges for Overdue Payments
     If the Note Holder has not received the full amount of any Minimum Payment by the end of fifteen (15) calendar days afler
the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be  5 • 0 0 0 % of the Minimum
Payment I will pay this late charge promptly but only once on each late payment.

       (B) Default
       If I do not pay the full amount of each Minimum Payment on the date it is due, I will be in default.

      (C) Notice of Default
      If lam in default, the Note Holder may send me a written notice telling me that if I do not pay the Minimum Payment by a
certain date, the Note Holder may require me to pay immediately the full amount of Principal that ha'> not been paid and all the
interest that I owe. The date must be at least 30 days after the date on which the notice is mailed to me or delivered by other
means.

     (D) No Waiver By Note Holder
     Even if, at a time when l am in default, the Note Holder does not require me to pay immediately in full as described above,
the Note Holder will still have the right to do so if! am in default at a later time.

     (E) Payment of Note Holder's Costs and Expenses
     If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to be
paid back by me for all of it-; costs and expenses in enforcing this Note to the extent not prohibited by applicable law. These
expenses include, for example, reasonable attorneys' fees.

8.    GIVING OF NOTICES
      Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me ~t the Property Address above or at a different address if I give the Note
Holder a notice of my different address.
      Unless the Note Holder requires a different method, any notice that must be given to the Note Holder under this Note will be
given by delivering it or by mailing it by first class mail to the Note Holder at the address stated in Section 3(A) above or at a
different address if lam given a notice of that different address.

9.    OBLIGATIONS OF PERSONS UNDER THIS NOTE
      If more than one person signs this Note, each person is fully and personally obligated to keep all the promises made in this
Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is also
obligated to do these things. Any person who takes over these obligations, including the obligations of a guarantor, surety or
endorser of this Note, is also obligated to keep all the promises made in this Note. The Note Holder may enforce its right-; under
this Note against each person individually or against all of us together. This means that any one of us may be required to pay all
the amount<; owed under this Note.

10. WAIVERS
      l and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
"Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" means the
right to require the Note Holder to give notice to other persons that amounts due have not been paid.

11. SECURED NOTE
     In addition to the protections given to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the
"Security Instrument"), dated the same date as this Note, protects the Note Holder from possible losses that might result if I do not
keep the promises that I make in this Note. That Security Instrument describes how and under what conditions I may be required
to make immediate payment in full of all amounts I owe under this Note. Some of these conditions are described as follows:
     Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest in the Property"
means any legal or beneficial interest in the Property:· including, but not limited to, those beneficial interests transferred in a bond

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                                                                                                                                LOAN #: 137733623
for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is the transfer of title by Borrower
at a future date to a purchaser.
      If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a natural person
and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, Lender may require immediate
payment in full of all sums secured by this Security Instrument. However, this option shall not. be exercised by Lender if such
exercise is prohibited by Applicable Law. Lender also shall not exercise this option if: (a) Borrower causes to be submitted to
Lender information required by Lender to evaluate the intended transferee as if a new loan were being made to the transferee; and
(b) Lender reasonably determines that Lender's security will not be impaired by the loan ac;sumption and that the risk of a breach
of any covenant or agreement in this Security Instrument is acceptable to Lender.
      To the extent permitted by Applicable Law, Lender may charge a reac;onable fee ac; a condition to Lender's consent to the
loan ac;sumption. Lender may also require the transferee to sign an ac;sumption agreement that is acceptable to Lender and that
obligates the transferee to keep all the promises and agreements made in the Note and in this Security Instrument. Borrower will
continue to be obligated under the Note and this Security Instrument unless Lender releases Borrower in writing.
      If Lender exercises the option to require immediate payment in full, Lender shall give Borrower notice of acceleration. The
notice shall provide a period of not less than 30 days from the date the notice is given in accordance with Section 15 within which
Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this
period, Lender may invoke any remedies permitted by this Security Instrument without further notice or demand on Borrower.


WITNESS TIIE HAND(S) AND SEAL(S) OF TIIE UNDERSIGNED.




                                                                                                                                          - Borrower



                                                                                                                                          - Borrower-



                                                                                                                                         - Borrower



                                                                                                                                          - Borrower



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                                                                                                             BY~~
                                                                                                              SUSAN AMADOR
                                                                                        COLLATERAL PROCESSI?JG OFFICER



•   PayOptlon ARM Note - MT A Index
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Prepared by: KYLE CLAYTON                                                Countrywide Bank, N.A.


DATE :     05/25/2006                                                                 Bran ch V: 000092 1
                                                                                      2 555 E . CAMELBAC K RD. 8100
BORROWER : MICHAEL J. BROSNAHAN                                                       PHOENIX, AZ 8501 6
CASE# :                                                                               Phone : (602)285 - 913 3
LOAN#:     137733623                                                                  Br   Fax No.:   (N)
PROPERTY ADDRESS: 21 Hununingbird Cir
                  Sedona, AZ 86336-7012



                                 PREPAYMENT PENALTY ADDENDUM

      TJilS PREPAYMENT PENALTY ADDENDUM is dated MAY 25, 2006                                           , and is incorporated
into and amends.and supplements the Note of the same date (the "Note") given by me to
Countrywide Bank, N.A.
(the "Lender"). The Note is secured by a Mortgage or Deed of Trust or comparable security instrument (the "Security
Instrument") covering the property (the "Property") identified in the Security Instrument.

The section of the Note entitJed "BORROWER'S RIGHT TO PREPAY" is replaced with the following new section:

       BORROWER'S RIGHT TO PREPAY

            I have the right to make payments of Principal at any time before they are due. Such an advance payment of Principal
      is known a<; a "Prepayment." I may make partial or full Prepayment.<;. When I make a Prepayment, I will tell the Note
      Holder in writing that I am doing so. The Note Holder will use all of my Prepayment.<; to reduce the amount of Principal
      that I owe under this Note. However, the Note Holder may apply my Prepayment to the accrued and unpaid interest on the
      Prepayment amount, before applying my Prepayment to reduce the Principal amount of the Note. I may not designate a
      payment a<; a Prepayment if I have not made all the monthly payment.<; due under the Note. If I make a partial Prepayment,
      there will be no changes in the due dates of my monthly payments. My partial Prepayment may reduce the
      amount of my monthly payments after the first Change Date following my partial
      Prepayment. However, any reduction due to my partial Prepayment may be offset by
      an interest rate increase.




• Prepayment Penalty Addendum
1E337· XX (1 2104)(d)                                       Page 1of2




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                                                                        LOAN #: 137733623
          If within the first TWELVE months after the execution of this Note, I make
      prepayment(s), the total of which exceeds twenty (20) percent of the original
      Principal amount of this Note, I agree ~o pay a Prepayment Penalty in an amount
      equal to the payment of six (6) months' advance interest on the amount by which the
      total of my prepayment(s.) during the twelve (12) month period immediately preceding
      the date of the prepayment exceeds twenty (20) percent of the original Principal
      amount of this Note. Interest will be calculated using the rate in effect at the
      time of prepayment.


All other tenns and conditions of the above referenced Note remain.in full force and effect.




                                                                                               Borrower




                                                                                               Borrower




                                                                                               Borrower




                                                                                               Borrower




• Prepayment Penalty Addendum
1E337· XX (12104)                                           Page 2 of 2
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                                                      (Escrow/Closing #)                                       [Doc IO #]

                                                DEED OF TRUST
                                                                   MlN 1001337-0001411265-3




      DEFINITIONS
      Words used in multiple sections of this document are defined below and olher words arc defined in Sections 3,
      11 , 13, 18, 20 and 2 1. Certain rules regarding the usage of words used in this document are also provided in
      Section 16.

      (A) "Security Instrument" means this document, which is dated                           MAY 25 , 2006
      1ogether with all Riders to this document
      (B) " Borrower" is
      MICHAEL J BROSNAHAN , A MARRIED MAN AS HIS SOLE & SEPARATE
      PROPERTY




      Borrower is the trustor under this Security Jnstrumen1. Borrower's mailing address is
      22 HUMMINGBIRD CIRCLE
      SEDONA, AZ 86336
      (C) "Lender" is
      Countrywide Bank, N.A.
      Lender is a
      NATL. ASSN.
      organized and existing under the laws of THE UNITED · STATES

      ARIZONA·Slngle Famlly·Fannle Mae/Freddie Mac UNIFORM INSTRUMENT WITH MERS
                                                               Page 1of11
      ~-6A(AZ) (0206)          CHL (08/D5)(d)   VMP Mortgage Solutlons, Inc. (800)521 ·7291                  Form 3003 1/01 (rev. 6102)
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                                                                        DOC ID #: 00013773362305006
  Lender's mailing address is
  1199 North Fairfax St . Ste.500
  Alexandria , VA 22314
  (D) "Trustee" is
  FIDELITY NATIONAL TITLE INSURANCE COMPANY
  Trustee's mailing address is
  15661 REDHILL AVENUE, 1200
  TUSTIN , CA 92780
  (E) "MERS" is Mortgage Electronic Registration Systems. Inc. MERS is a separate corporation that is acting
  solely a'I a nominee for Lender a.nd Lender's successors and a'lsigns. MERS is the beneficiary under this
  Security Instrument. MERS is organized and existing under the laws of Delaware, and ha'I an address and
  telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-MERS.
  (F) "Note" means the promissory note signed by Borrower and dated       MAY 2 5 , 2 OO6
  The Note states that Borrower owes Lender
  THREE HUNDRED SEVENTY THREE THOUSAND FIVE HUNDRED and 00/100
  Dollars (U.S. S 3 7 3, 5 0 0 . 0 0           ) plus interest. Borrower ha~ promised to pay this debt in regular
  Periodic Payments and to pay the debt in full not later than    JUNE 01 , 2 0 3 6                 .
  (G) "Property" means the property that is described below under the heading "Transfer of Rights in the
  Property."
  (H) "Loan" means the debt evidenced by the Note, plus interest. any prepayment charges and late charges
  due under the Note, and all sums due under this Security Instrument, plus interest.
  (I) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
  Riders are to be executed by Borrower (check box as applicable]:

  LIU Adjustable Rate Rider D          Condominium Rider                   0 Second Home Rider
  D Balloon Rider           0          Planned Unit Development Rider      LIU 1-4 Family Rider
  0 VA Rider                D          Biweekly Payment Rider              0 Other(s) [specify]


  (J) "Applicable Law" means all controlling applicable federal, state and loca.1 statutes, regulations,
  ordinances and administrative rules and orders (that have the effect or law) a~ well a'I all applicable final,
  non-appealable judicial opinions.
  (K) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessment'I and other
  charges that are imposed on Borrower or the Property by a condominium a'lsoeiation, homeowner.; a'lsoeialion
  or similar organization.
  (L ) "Electronic Funds Transfer" means any transfer of funds, other than a transaction origina1ed by check,
  draft, or similar paper instrument, which is initiated through an electronic tenninal, telephonic instrument,
  computer, or magnetic tape so as to order, instruct. or authorize a financial instiiution to debi1 or credi1 an
  account. Such tenn includes, but is not limited to, Point-of-sale transfers. automated teller machine
  transactions. transfers initiated by telephone, wire transfer.;, and automated clearinghouse transfers.
  (M) "Escrow Items" means those items that are described in Section 3.
  (N) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by
  any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage
  10.· or destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii)
  conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
  condition of the Property.
  (0) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the
  Loan.
  (P) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
  Note, plus (ii) any amounts under Section 3 of this Security Instrument.
  (Q) "RESPA" means the Real Estate Settlement Procedures Act ( 12 U.S.C. Section 2601 et seq.) and its
  implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time 10 lime, or
  any additional or successor legislation or regulation that governs the same subject rrtatter. As used in this
  Security Instrumen!, "RESPA" refers 10 all requirement<; and restrictions that are imposed in regard 10 a
  "federally related mortgage loan" even if the Loan does not qualify as a "federally related mortgage loan"
  under RESPA.
  ( R) "Successor in Interest of Borrower" means any party that ha<; taken title 10 the Property, whether or not
  that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

  TRANSFER OF RJGHTS IN THE PROPERTY
  The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender's successors
  and assigns) and the successors and a-;signs of MERS. This Security Instrument secures to Lender: (i) the



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                                                               DOC ID #: 00013773362305006
   repayment of the Loan, and all renewals, extensions and modifications of the Note; and (ii) the perfonnance of
   Borrower's covenanL~ and agreements under this Security lnsuument and the Note. For this purpose. Borrower
   irrevocably grants and conveys to Trustee, in uust. with power of sale. the following described property
   located in the                           COUNTY                                of
                                            jType o( Recon!ing Jurisdiction)
                               COCONINO
         3...3,
             IName of Recording Jurisdiction I UtJ rT"            .2
   LOT~    OF CHAPEL BELLS ESTATES He-. 4, ACCORDING TO CASE X OF
   MAPS, PAGE 324,·--1WD Ai'Fib'll"IT OF CORRECTHm AS Ri:C9Rf>S9 HI
   DOCltCH 1677, PAGE 90 6-;" RECORDS OF COCONINO COUNTY, ARI ZONA




                    1.fOl - 5 J - 0 at ~
  Parcel ID Number: 4 01§19 4-:3                                                           which currently   ha~   the
  address of
                               21 Hummingbird Cir, Sedona

                                                               IStrncUCityJ
  Arizona 8 6 3 3 6- 7 O12 ("Property Addres.~"):
                  IZipCodcJ
        TOGETHER WITH all the improvemenL~ now or hereafter erected on the property, and all easements.
  appunenance.5. and fixtures now or hereafter a part of the property. All replaccmenL5 and additions shall also
  be covered by this Security lnsuument All of the foregoing is referred to in this Security Instrument as the
  "Propeny." Borrower understands and agrees that MERS holds only legal title to the interc.5ts granted by
  Borrower in this Security Instrument, but, if necessary to comply with law or custom, MERS (a5 nominee for
  Lender and Lender's succes.5ars and assigns) has the right: to exercise any or all of those interc.5L5, including,
  but not limited to, the right to foreclose and sell the Property; and to take any action required of Lender
  including, but not limited to, relea.~ing and canceling this Security Instrument
        BORROWER COVENANTS that Borrower is lawfully seiscd of the estate hereby conveyed and has the
  right to grant and convey the Property and that the Property is unencumbered, except for encumbrances of
  record. Borrower warranL5 and will defend generally the title to the Property against all claims and demands.
  subject to any encumbrances of record.
        THIS SECURJTY INSTRUMENT combines uniform covenanL~ for national use and non-uniform
  covcnanL~ with limited variations by jurisdiction to constitute a uniform security inslfl!ment covering real
  property.

        UN IFORM COVENANTS. Borrower and Lender covenant and agree a~ follows:
        1. Payment of Principal, Inter est, Escrow Items, Prepayment Charges, a nd Lale Charges. Borrower
  shall pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment
  charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to
  Section 3. Payments due under the Note and this Security Instrument shall be made in U.S. currency.
  However. if any check or other instrument received by Lender as payment under the Note or this Security
  Instrument is returned to Lender unpaid. Lender may require that any or all subsequent paymenL~ due under
  the Note and this Security Instrument be made in one or more of the following forms. a.~ selected by Lender:
  (a) ca5h; (b) money order; (c) cenified check. bank check. trea.~urer's check or ca5hier's check, provided any
  such check is drawn upon an institution whose deposiL~ are insured by a federal agency, insuumentality, or
  entity; or (d) Electronic Funds Transfer.
        PaymcnL~ are deemed received by Lender when received at the location designated in the No.le or at such
  other location a5 may be designated by Lender in accordance with the notice provisions in Section 15. Lender
  may rerum any payment or partial payment if the payment or partial payments are insufficient to bring the
  Loan current. Lender may accept any payment or panial payment insufficient to bring the Loan current,
  without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial payments in
  the future, but Lender is not obligated 10 apply such payments at the time such payments are accepted. If each
  Periodic Payment is applied as or its scheduled due date, then Lender n~d not pay interest on unapplied
  fund~. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan current. Jr
  Borrower doc.~ not do so within a rea5anable period of time, Lender shall either apply such fund~ or rerum



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  them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance under
  the Note immedjately prior to foreclosure. No off.~t or claim which Borrower might have now or in the future
  against Lender shall relieve Borrower from making payments due under the Note and this Security Instrument
  or performing the covenants and agreements secured by this Security Instrument.
        2. Application of Payments or Proceeds. Except as otherwise described in this Section 2. all payrncnLs
  accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the
  Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to
  each Periodic Payment in the order in which it became due. Any remaining amounLs shall be applied first to
  late charges, second to any other amounts due under this Security Instrument, and then to reduce the principal
  balance of the Note.
        If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
  sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and the
  late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
  Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be paid in
  full. To the extent that any excess exists after the payment is applied to the full payment of one or more
  Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be
  applied first to any prepayment charges and then as described in the Note.
        Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
  Note shall not extend or postpone the due date. or change the amount. of the Periodic Payments.
        3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under
  the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounLs due for: (a)
  taxes and assessmenLs and other items which can auain priority over this Security Instrument as a lien or
  encumbrance on the Propeny; (b) leasehold payments or ground rents on the Property, if any; (c) premiums
  for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or
  any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in
  accordance with the provisions of Section 10. These items are called "Escrow Items." At origination or at any
  time during the term of the Loan, Lender may require that Community Association Dues, Fees, and
  Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item.
  Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower shall
  pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any
  or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender Funds for any or all Escrow
  Items at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower shall pay
  directly, when and where payable, the amounLs due for any Escrow Items for which payment of Funds has
  been waived by Lender and, if Lender requires, shall furnish to Lender receipLs evidencing such payment
  within such time period as Lender may require. Borrower's obligation to make such paymenL'> and to provide
  receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security
  Instrument, as the phrase "covenant and agreement" is used in Section 9. If Borrower is obligated to pay
  Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item,
  Lender may exercise its rights under Section 9 and pay such am·ount and Borrower shall then be obligated
  under Section 9 to repay to Lender any such amount. Lender may revoke the waiver a<; to any or all Escrow
  Items at any time by a notice given in accordance with Section 15 and, upon such revocation, Borrower shall
  pay to Lender all Funds, and in such amounts, that arc then required under this Section 3.
        Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
  Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require
  under RESPA. Lender shall estimate the amount of Funds due on the ba~is of current data and rea~onable
  estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable Law.
        The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality,
  or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home
  Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under
  RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually analyzing the e.<;crow
  account, or verifying the Escrow Items. unless Lender pays Borrower interest on the Funds and Applicable
  Law permits Lender to make such a charge. Unless an agreement is made in writing or Applicable Law
  require.s interest to be paid on the Funds•.Lender shall not be required to pay Borrower any interest or earnings
  on the Funds. Borrower and Lender can ag.ree in writing, however, that interest shall be paid on the Funds.
  Lender shall give to Borrower. without charge. an annual accounting of the Funds as required by RESPA.
        If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower
  for the excess funds in accordance with RESPA. If there is a shortage of Funds held in e.<;crow, as defined
  under RESPA. Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the
  amount necessary to make up the shonage in accordance with RESPA, but in no more than 12 monthly
  payments. If there is a deficiency of Funds held in escrow, a~ defined under RESPA, Lender shall notify
  Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the
  deficiency in accordance with RESPA, but in no more than 12 monthly payments.
        Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
  Borrower any Funds held by Lender.




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         4. Ch arges; Liens. Borrower shall pay all taxes. assessment~. charges. fine.~. and impositions auributable
   to the Property which can auain priority over this Security Instrument. leasehold paymenL<> or ground rents on
   the Propeny, if any, and Community Association Dues, Fee.<>, and Assessments, if any. To the extent that these
   item~ are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
          Borrower shall promptly discharge any lien which has priority over this Security Instrument unles.~
   Borrower: (a) agrees in writing 10 the payment of the obligation secured by the lien in a manner acceptable to
   Lender, but only so long as Borrower is performing such agreement; (b) coniesL~ the lien in good faith by, or
   defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the
   enforcement of the lien while those proceedings are pending, but only until such proceedings are concluded;
   or (c) secures from the holder of the lien an agreement satisfactory 10 Lender subordinating the lien 10 this
   Security Instrument. If Lender determines that any part of the Propcny is subject to a lien which can attain
   priority over this Security Instrument, Lender may give Borrower a notice identifying the lien. Within IO days
   or the date on which that notice is given, Borrower·shall satisfy the lien or take one or more of the actions set
   forth above in this Section 4.
         Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
   service used by Lender in connection with this Loan.
         S. Property I nsurance. Borrower shall keep the improvemcnL~ now existing or hereafter erected on the
   Property insured against loss by fire, hazards included within the term "extended coverage," and any other
   hnards including, but not l imi ted to, earthquakes and noods, for which Lender requires insurance. This·
   insurance shall be maintained in the amounts (including deductible levels) and for the pc'riods that Lender
   requires. What Lender requires pursuant to the preceding sentences can change during the term of the Loan.
  The insurance carrier providing the insurance shal l be chosen by Borrower subject to Lender's right to
  disapprove Borrower's choice. which right shall not be exercised unreasonably. Lender may require Borrower
  to pay, in connection with this Loan, either: (a) a one-time charge for flood zone determination, certification
  and tracking services; or (b) a one-time charge for flood zone determination and certification service.<> and
  subsequent charges each time remappings or similar change.~ occur which reasonably might affect such
  determination or certification. Borrower shal l also be responsible for the payment of any fees imposed by the
  Federal Emergency Management Agency in connection with the review or any flood zone determination
  resulting from an objection by Borrower.
         I f Borrower fails to maintain any of the coverage.~ described above, Lender may obtain insurance
  coverage. at Lender's option and Borrower's expense. Lender is under no obligation 10 purchase any particular
  type or amount of coverage. Therefore. such coverage shall cover Lender, but might or might not protect
  Borrower, Borrower's equity in the Property, or the contenL~ of the Property, against any risk, hazard or
  liability and might provide greater or Jc.c;.<>er coverage than wa~ previously in effect. Borrower acknowledges
  that the cost of the insurance coverage so obtained might significantly exceed the cost of insurance that
  Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall become additional
  debt of Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate from
  the date of disbursement and shall be payable, with such interest, upon notice from Lender to Borrower
  requesting payment.
         All insurance policies required by L ender and renewals of such policies shall be subject to Lender's right
  to disapprove such policic.<;, shall include a standard mortgage clause. and shall name Lender as mortgagee
  and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal cen ificates. If
  Lender requires, Borrower shal l promptly give to Lender all receipts of paid premiums and renewal notices. If
  Borrower obtains any form of insurance coverage, not otherwise required by Lender, for damage to, or
  destruction of, the Property, such policy shall include a sta.ndard mortgage clause and i;hall name Lender as
  mortgagee and/or a<; an additional lo.c;,5 payee.
        Jn the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
  make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in
  writing, any insurance proceeds. whether or not the underlying insurance wa5 required by Lender, shal l be
  applied to rc.<;toration or repair of the Property, if the restoration or repair is economically feasible and
  Lender's security is not lessened. During such repair and restoration period, Lender shal l have the right 10 hold
  such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work has
  been completed to Lender's satisfaction. provided that such inspection shall be undenakcn promptly. Lender
  may disburse proceed<; for the repairs and restoration in a single payment or in a series of progre.c;,~ paymenL~
  as the work is completed. Unles.<; an agreement is made in writing or Applicable Law requires interest to be
  paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on
  such proceed~. Fees for public adjusters, or other third partic.5, reta.ined by Borrower shall not be paid out of
  the insurance proceeds and shall be the sole obligation of Borrower. If the restoration or repair is not
  economically feasible or Lender's security would be les.~ened, the insurance proceeds shall be applied to the
  sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.
  Such insurance proceeds shall be applied in the order provided for in Section 2.
        Jr Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim
  and related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance
  carrier ha~ offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will
  begin when the notice is given. Jn either event, or if Lender acquires the Properly under Section 22 or
  otherwise, Borrower hereby assigns 10 Lender (a) Borrower's rights to any insurance proceeds in an amount



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  001 10 exceed lhc amount~ unpaid under lhe No1e or lhis Security lns1rumen1, and (b) any olher of Borrower's
  righ1s (olher 1han lhe righ1 10 any refund of unearned premiums paid by Borrower) under all insurance policies
  covering lhe Propcny, insofar as such righlS arc applicable 10 lhe coverage of lhe Property. Lender may use
  lhe insurance proceeds eilher 10 repair or res1ore lhe Properly or 10 pay amount~ unpaid under 1he Nole or !his
  Security lns1rumen1, whelher or no1 1hen due.
         6. Occupancy. Borrower shall occupy, establish, and use 1he Propeny a~ Borrower's principal residence
  wilhin 60 days af1cr 1he execution of lhis Securi1y lns1rumcn1 and shall cominue 10 occupy lhe Propeny as
  Borrower's principal residence for a1 lea~l one year afler lhe dale of occupancy. unless Lender olhcrwise
  agrees in writing, which consem shall no1 be unreasonably wilhheld, or unless ex1enuating circumstances exis1
  which are beyond Borrower's con1rol.
        7. Preser vation, Maintenance and Protection or the Property; Inspections. Borrower shall no1
  destroy. damage or impair lhe Property, allow the Property 10 de1eriora1e or commi1 was1e on 1he Property.
  Whc1hcr or no1 Borrower is residing in lhe Property, Borrower shall maintain lhe Properly in order 10 prevenl
  the Property from dc1eriorating or decreasing in value due 10 its condi1ion. Unless ii is de1crrnined pursuant to
  Sec1ion 5 lhat repair or res1oration is not economically feasible, Borrower shall promplly repair lhe Property if
  damaged lO avoid furlher de1erioralion or damage. If insurance or condemna1ion proceeds are paid in
  connection with damage to, or the 1aking of, the Property, Borrower shall be responsible for repairing or
  rcs1oring the Property only if Lender ha~ released proceeds for such purposes. Lender may disburse proceeds
   for the repairs and res1ora1ion in a single payment or. in a series of progress paymcnL~ as lhe work is
  comple1ed. If the insurance or condemnation proceeds are no1 sufficient to repair or restore the Property •
  .Borrower is not relieved of Borrower's obligation for the completion of such repair or res1oration.
         Lender or iL~ agent may make rea~onable entries upon and inspections of the Properly. If it has
  reasonable cause, Lender may inspect lhe interior of the improvements on the Property. Lender shall give
   Borrower notice at 1he time of or prior 10 such an inierior inspection specifying such reasonable cause.
        8. Borrower's Loan Application. Borrower shall be in defaul1 if, during Lhe Loan application process.,
  Borrower or any persons or enti1ies acting at the direction of Borrower or with Borrower's knowledge or
  conscm gave ma1erially false, misleading, or inaecuralC inforrna1ion or sta1cmenL~ 10 Lender (or failed 10
  provide Lender wilh material information) in connec1ion wilh 1he Loan. Material representations include, but
  are not limi1ed 10, representa1ions concerning Borrower's occupancy of lhe Property as Borrower's principal
  rc.~idencc.
        9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a)
  Borrower fails to perform lhe covenants and agreement~ contained in 1his Sccuriry Ins1rumem, (b) !here is a
  legal proceeding tha1 might significantly affec1 Lender's interes1 in the Propcny and/or righlS under lhis
  Securi1y lns1rumem (such as a proceeding in bankrup1cy, proba1e, for condemnation or forfeirure, for
  enforcemcn1 of a lien which may auain priority over 1his Securi1y lns1rumcn1 or 10 enforce laws or
  regulations), or (c) Borrower ha~ abandoned the Property, then Lender may do and pay for whatever is
  reasonable or appropria1e to pro1ect Lender's imeres1 in Lhe Propeny and right~ under this Security Ins1rumen1,
  including pro1ecting and/or assessing 1he value of the Property, and securing and/or repairing the Property.
  Lender's actions can include, but are noi limited to: (a) paying any sums secured by a lien which has priori1y
  over lhis Securi1y Jns1.n1ment; (b) appearing in court; and (c) paying rea>onable auorneys' fees 10 prolCCt it~
  imcrc.~t in the Property and/or righ1s under this Security lns1rumen1, including it~ secured position in a
  bankruptcy proceeding. Securing Lhe Property includes, but is no1 limited to, entering Lhe Property 10 make
  repairs, change locks, replace or board up doors and windows, drain water from pipes. climina1e building or
  other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take
  action under this Section 9, Lender does no1 have to do so and is not under any duty or obligation 10 do so. IL
  is agreed that Lender incurs no liability for no11aking any or all ac1ions authorized under this Sec1ion 9.
         Any arnounl~ disbursed by Lender under this Sec1ion 9 shall become addi1ional debt of Borrower secured
  by this Security lns1.n1mcnt. These amoums shall bear interest a1 lhe Note rate from 1he date of disbursement
  and shall be payable, with such imerest, upon nolice from Lender 10 Borrower requesting payment.
         If 1his Security lns1rumen1 is on a leasehold, Borrower shall comply wilh all lhe provisions of the lea<;e.
  If Borrower acquires fee tille to the Propeny. 1he leasehold and the fee tille shall not merge unless Lender
  agrees to 1he merger in wri1ing.
         10. Mortgage Insurance. If Lender required Mortgage Insurance a~ a condi1ion of making Lhe Loan,
  Borrower shall pay lhe premiums required 10 mainlain the Mongagc Insurance in effecl. If. for any reason, lhe
  Mortgage Insurance coverage required by Lender cea'>CS 10 be available from the mortgage insurer 1ha1
  previously provided such insurance and Borrower was required 10 make separately designated payments
  toward the premiums for Mortgage Insurance, Borrower shall pay lhe 11remiums required to obtain coverage
  substantially equivalent 10 the Mongage Insurance previously in effec1, at a cosl substantially cquivalem to the
  cos110 Borrower of the Mortgage Insurance previously in effect, from an al1erna1c mortgage insurer selcc1ed
  by Lender. If subs1antially equivalcnl Mortgage Insurance coverage is no1 available, Borrower shall con1inue
  to pay 10 Lender the amouni of lhe separately designated payrnenL~ Lha1 were due when lhe insurance coverage
  cca~ 10 be in effect. Lender will accept, use and retain these payments as a non-refundable loss reserve in
  lieu of Mortgage Insurance. Such loss reserve shall be non-refundable, no1wi1hstanding 1hc fact that Lhe Loan
  is ultimately paid in full. and Lender shall not be required 10 pay Borrower any intercsl or earnings on such
  loss reserve. Lender can no longer require loss reserve payment~ if Mortgage Insurance coverage (in the
  amount and for the period 1hat Lender requires) provided by an insurer selected by Lender again becomes


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   available, is obtained, and Lender requires separately designa1ed paymenL5 toward the premiums for Mortgage
   Insurance. If Lender required Mortgage Insurance a5 a condition of making the Loan and Borrower was
   required to make separately designated paymenL5 toward the premium5 for Mortgage Insurance, Borrower
   shall pay the premiums required to maintain Mortgage Insurance in effect. or LO provide a non-refundable loss
   re.~rve, until Lender's requirement for Mortgage Insurance ends in accordance with any written agreement
   between Borrower and Lender providing for such termination or until termination is required by Applicable
   Law. Nothing in this Section 10 affecL5 Borrower's obligation to pay interest at the rate provided in the Note.
          Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
   incur if Borrower doc.5 not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
          Mortgage insurers evaluate their total risk on all such insurance in force from time to Lime, and may enter
   into agreemenL5 with other parties that share or modify their risk, or reduce losses. These agreements are on
   terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these
   agreements. The-5e agreements may require the mortgage insurer to make paymenL5 using any l>'Ource of funds
   thai the mortgage insurer may have available (which may include funds obtained from Mongage Insurance
   premiums).
          As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
   other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts thal derive
   from (or might be characterized as) a ponion of Borrower's payments for Mongage Insurance, in exchange for
  sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement provides that an
   affiliate of Lender takes a share of the insurer's risk in exchange for a share of the premiums paid to the
   insurer, the arrangement is often termed "captive reinsurance." Further:
         (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mort.gage
   Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will
  owe ror Mortgage Insurance, and they will not entitle Borrower to any refu nd.
         (b) Any such agreements will not affect the rights Borrower has • if any • with respect lo the
  Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may
  include lhe right to receive certain disclosures, lo request and obtain cancellation or the Mortgage
   Insurance, lo have the Mortgage Insurance terminated automatically, and/or to receive a refund or any
  Mortgage Insurance premiums that were unearned at the time of such cancellation or termination.
          11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceed.<; arc hereby
  as.~igned to and shall be paid to Lender.
         If the Propeny is damaged, such Miscellaneous Proceed~ shall be applied to restoration or repair or the
  Property, if the restoration or repair is economically feasible and Lender's security is not les.-;ened. During such
  repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceed5 until Lender has
  had an opportun ity to inspect such Property to ensure the work ha~ been completed to Lender's satisfaction.
  provided that such inspection shall be undertaken promptly. Lender may pay for the repairs and re.<;toration in
  a single disbursement or in a series of progress paymenL5 as the work is completed. Unless an agreement is
  made in writing or Applicable Law requires intere.5t to be paid on such Miscellaneous Proceeds, Lender shall
  not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or
  repair is no1 economically feasible or Lender's security would be lessened, the Miscellaneous Proceeds. shall
  be applied to the sums secured by this Security Instrument, whether or not then due, with the excess. if any.
  paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in Section 2.
         In the event of a total taking, destruction, or los.~ in value of the Property, the Miscellaneous Proceeds
  shall be applied to the sums secured by this Security Instrument. whether or not then due, with the excess, if
  any. paid to Borrower.
         In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
  or the Property immediately before the partial taking, destruction, or Joss in value is equal to or greater than
  the amount of the sum~ secured by this Security Instrument immediately before the partial taking, destruction.
  or loss in value, unles.<i Borrower and Lender otherwise agree in writing, the sums secured by this Security
  Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by ilie following fraction:
  (a) the total amount of the sums secured immediately before the partial taking, destruction, or loss in value
  divided by (b) the fair market value of the Propeny immediately before the partial taking, destruction, or loss
  in value. Any balance shall be paid to Borrower.
         In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
  of the Property immediately before the partial taking, destruction, or loss in value is less than the amount of
  the sums secured immediately before the partial taking, destruction, or loss in value, unless Borrower and
  Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this
  Securi1y Instrument whether or not the sums are then due.
         If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
  Party (a5 defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to
  re-~pond to Lender within 30 days after the date the notice is given. Lender is authorized to collect and apply
  the Miscellaneous Proceeds either to restoration or repair of the Property or to the sum5 secured by this
  Security Instrument. whether or not then due. "Opposing Party" means the third party that owes Borrower
  Miscell~ncous Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous
  Proceeds.
         Borrower shall be in default if any action or proceeding, whether civil or erirrtinal, is begun that. in
  Lender's judgment, could result in forfeiture of the Propeny or other material impairment of Lender's interest

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   in lhe Property or righL~ under lhis Security Insuumem. Borrower can cure such a default and, if acceleration
   ha~ occurred, reinstate as provided in Sect.ion 19, by causing lhe action or proceeding 10 be dismissed wilh a
   ruling lhat, in Lender's judgment, precludes forfeiture of the Property or other material impairment of Lender's
   interest in lhe Property or righlS under lhis Security Insuument. The proceeds of any award or claim for
  damages that are atlributable to the impairment of Lender's interest in the Property arc hereby as.~igned and
   shall be paid to Lender.
         All Miscellaneous Proceeds lhat are not applied to restoration or repair of lhe Property shall be applied in
   lhe order provided for in Section 2.
         12. Bor rower Nol Released; Forbearance By Lender Not a Waiver. Extension of the time for
   payment or modification of amortization of lhe sums secured by this Security Insuument granted by Lender to
   Borrower or any Successor in Interest of Borrower shall not operate to relea~e the liability of Borrower or any
  Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
   Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization of
   the sums secured by this Security Instrument by reason of any demand made by lhe original Borrower or any
  Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy including,
   wilhout limitation, Lender's acceplance of payments from third persons, entities or Successors in Interest of
   Borrower or in amounts less than lhe amount lhcn due, shall not be a waiver of or preclude the exercise of any
   right or remedy.
         13. .Joint and Several Liabili ty; Co-signers; Successors and Assigns Bound. Borrower covenanL~ and
  agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who
  co-signs this Security lnsuumcnt but docs not execute lhe Note (a "co-signer"): (a) is co-signing this Security
   Instrument only to mortgage, grant and convey the co-signer's interest in the Property under lhe terms of lhis
  Security InslrUment; (b) is not personally obligated to pay the sums secured by this Security InslrUment; and
  (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make any
  aocommodations with regard to the terms of this Security Instrument or the Note without the co-signer's
  consent.
         Subject to lhc provisions of Section 18, any Succes.wr in Intere.~L of Borrower who assumes Borrower's
  obligations under this Security lnslrUment in writing, and is approved by Lender, shall obtain all of Borrower's
  righL~ and benefilS under this Security Instrument. Borrower shall not be relea~ from Borrower's obligations
  and liability under this Security Instrument unless Lender agrees to such release in writing. The covenanlS and
  agreements of this Security Inslrument shall bind (except as provided in Section 20) and benefit the successors
  and as.~igns of Lender.
         14. Loan Charges. Lender may charge Borrower fees for service.~ performed in connection with
   Borrower's default, for the purpose of protecting Lender's interest in the Property and righL~ under this
  Security lnsuument, including, but not limited to, attorneys' fees, property inspection and valuation fees. Jn
  regard to any other fees, the absence of express authority in this Security Inslrumem to charge a specific fee to
  Borrower shall not be consuued as a prohibition on lhe charging of such fee. Lender may not charge fees that
  are expressly prohibited by this Security JnslrUment or by Applicable Law.
         If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
  that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
  permiued limiL~. then: (a) any such loan charge shall be reduced by lhe amount necessary to reduce the charge
  to the permiued limit; and (b) any sums already collected from Borrower which exceeded permiued limilS will
  be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed under the
  Note or by making a direct payment to Borrower. If a refund reduces principal, lhe reduction will be lreated as
  a partial prepayment without any prepayment charge (whether or not a prepayment charge is provided for
  under the Note). Borrower's acceptance of any such refund made by direct payment to Borrower will
  constitute a waiver of any right of action Borrower might have arising out of such overcharge.
         15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must
  be in writing. Any notice to Borrower in connection with lhis Security Instrument shall be deemed to have
  been given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice
  addres.~ if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless
  Applicable Law expressly requires olherwisc. The notice addrc.~s shall be the Property Address unles.~
  Borrower has designated a substitute notice address by notice to Lender. Borrower shall promplly notify
  Lender of Borrower's change of address. If Lender specifies a procedure for rcparting Borrower's change of
  address, then Borrower shall only repart a change of address through that specified procedure. There may be
  only one designated notice address under this Security lnslrumcnt at any one time. Any notice to Lender shall
  be given by delivering it or by mailing it by first class mail to Lender's addrc.~s stated herein unless Lender has
  designated anolher address by notice to Borrower. Any notice in connection with this Security Insuument
  shall not be deemed to have been given to Lender until actually received by Lender. If any notice required by
  this Security InslrUment is also required under Applicable Law, the Applicable Law requirement will satisfy
  the corrcspanding requirement under this Security lnslrument.
         16. Governi ng Law; Severabilily; Rules of Construction. This Security Instrument shall be governed
  by federal law and the law of lhe jurisdiction in which the Propehy is located. All rights and obligations
  contained in this Security Inslrument are subject to any requiremenL~ and limilations of Applicable Law.
  Applicable Law might explicitly or implicitly allow the parties to agree by conlraCt or it might be silent, but
  such silence shall not be conslrUed as a prohibition against agreement by contract. In the event lhat any


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  provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall
  not affect other provisions of this Security Instrument or the Note which can be given effect without the
  conflicting provision.
        As used in this Security Instrument: (a) words of the masculine gender shall mean and include
  corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and include
  the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to take any
  action.
        17. Borrower's Copy. Bom>wer shall be given one copy of the Note and of this Security Insirument.
        18. Transfer of lhe Properly or a Beneficial lnleresl in Borrower. As used in this Section 18,
  "lnteres1 in the Property" means any legal or beneficial in1cres1 in the Property, including, but not limi1ed to,
  1hose beneficial interests uansferred in a bond for deed, contracl for deed, installment sales contracl or escrow
  agreement. the intent of which is the transfer of title by Bom>wer at a fulure date 10 a purchaser.
        If all or any part of the Property or any Interest in the Property is sold or transferred (or if Bom>wer is no1
  a na1ural person and a beneficial intere.~1 in Borrower is sold or transferred) without Lender's prior writt~
  consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
  However, lhis op1ion shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
        If Lender exercises this option, Lender shall give Borrower noiice of acceleration. The notice shall
  provide a period of not le.~s than 30 days from the date the notice is given in accordance with Section 15
  within which Borrower musl pay all sums secured by this Securily Instrument. If Borrower fai ls to pay these
  sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
  Instrument wilhout further notice or demand on Borrower.             .
        19. Borrower's Righl to Reinstate After Acceleration. If Bom>wcr meeL~ certain conditions, Borrower
  shall have the right to have enforcement of this Security lnsirument discontinued at any time prior to the
  earliest of: (a) five days before sale of the Propeny pursuant to any power of sale contained in this Security
  lnstrumen1; (b) such other period a~ Applicable Law might specify for the termination of Borrower's right to
  reinsta1e; or (c) entry of a judgment enforcing this Security Instrument Those conditions are that Borrower:
  (a) pays Lender all sums which then would be due under this Security Instrument and the Note a'> if no
  acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses
  incurred in enforcing this Securiry Instrument, including, but not limited to, reasonable attorneys' fees,
  property inspection and valuation fees. and other fees incurred for the purpose of protecting Lender's interest
  in the Property and rights under tllis Security Instrument; and (d) takes such action a~ Lender may reasonably
  require 10 ac;.~ure that Lender's interest in the Property and right.s under this Security lnstrumen1, and
  Borrower's obliga1ion to pay the sums secured by this Security Instrument, shall continue unchanged. Lender
  may require that Borrower pay such reinstatement sums and expenses in one or more of the following fonns,
  as selected by Lender: (a) cash; (b) money order; (c) cenified check, bank check, treasurer's check or cashier's
  check, provided any such check is drawn upon an ins1itution whose deposits are insured by a federal agency,
  instrumcntali1y or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security
  Instrument and obligations secured hereby shall remain fully effective as if no acceleration had occurred.
  However, this right to reinstate shall not apply in the case of acc<;leration under Section 18.
        20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial inierest in the
  Note (toge1her wi1h this Security Instrument) can be sold one or more times without prior notice to Borrower.
  A sale migh1 result in a change in the entity (known as the "Loan Servicer") that collects Periodic PaymenL~
  due under the Note and this Security Instrument and performs other mongage loan servicing obligations under
  1he Note. this Security Instrument, and Applicable Law. There also might be one or more changes of the Loan
  Servicer unrelated 10 a sale of the Nole. If there is a change of the Loan Servicer, Borrower will be given
  wriuen notice of the change which will state the name and address of the new Loan Servicer, the addre.'>s to
  which paymenL~ should be made and any other information RESPA require.'> in connection with a notice of
  transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the
  purchaser of the Note, the mortgage loan servicing obligations to Borrower will remain with the Loan Servicer
  or be transferred to a successor Loan Servicer and are not a~sumcd by the Note purchaser unles.'> otherwise
  provided by lhe Note purcha'ler.
        Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
  individual litigant or the member of a cla55) that arises from the other party's actions pur.;uant to this Security
  Instrument or 1ha1 alleges that the other party has breached any provision of, or any duty owed by reason of.
  this Security Instrument, until such Borrower or Lender ha~ notified the other pany (with such notice given in
  compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
  reasonable period after the giving of such notice to take corrective action. If Applicable Law provide.~ a time
  period which must elapse before certain action can be taken, that time period will be deemed to be rea~nable
  for purposes of this paragraph. The notice of acceleration and opponunity to cure given to Borrower pursuant
  to Section 22 and the notice of acceleration given to Bom>wer pur.;uant to Section 18 shall be deemed LO
  satisfy the notice and opponunity to take corrective action provisions of this Section 20.
        21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances
  defined as toxic or hazardous substances, pollutant'>, or wastes by Environmental Law and the following
  substances: ga~oline, kerosene, other nammable or toxic pell'Oleum products, toxic pesticides and herbicides,
  volatile solvcms. materials containing asbestos or formaldehyde, and radioactive maicrials; (b)



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  "Environmen1al Law" means federal laws and laws of lhe jurisdiclion where lhe Property is localed lhal relale
  10 health. safely or environmental proteclion; (c) "Environmental Cleanup" includes any response action,
  remedial action, or removal action, as defi ned in Environmental Law; and (d) an "Environmental Condition"
  means a condition that can cause, contribu1e lo. or olherwise trigger an Environmental Cleanup.
        Borrower shall no1 cause or permi1 lhe presence, use, dispoi;al, s1orage, or release of any Hazardous
  Subs1ances, or threaten lo re lease any Hazardous Substances, on or in the Property. Borrower shall not do, nor
  allow anyone else lo do, anylhing affecling lhe Property (a) lhal is in violation of any Environmental Law, (b)
  which creates an Environmen1al Condi tion, or (c) which, due lo lhe presence, use, or release of a Hazardous
  Substance, creates a condi1ion lha1 adversely affec1s lhe value of lhe Property. The preceding lwo sen1ences
  shall no1 apply to lhe presence. use, or storage on lhe Property of small quan1i1ies of Hazardous Subslances
  lhal are generall y recognized lo be appropriate to normal residen1ial use,5 and to main1enance of the Property
  (including, bul not limited lo, hazardous substances in consumer produCL5).
        Borrower shall promptly give Lender wriuen nolice of (a) any investiga1ion, claim, demand, lawsuil or
  other ac1ion by any governmental or regulalory agency or priva1e party involving lhe Property and any
  Hazardous Subs1ance or Environmen1al Law of which Borrower has ac1ual knowledge, (b) any Environmen1aJ
  Condition, including bul nol lim ited to, any spilling, leaking, discharge, release or lhreat of release of any
  Hazardous Subs tance, and (c) any condi1ion caused by lhe presence, use or release of a Hazardous Substance
  which adversely a ffecL5 lhe value of the Property. lf Borrower learns, or is no1ified by any governmental or
  rcgul a1ory aulhority, or any privale party. lhat any removal or other remediation o f any Hazardous Substance
  affecting the Property is necessary, Borrower shall promptly lake all neccs.sary remedi al ac1ions in accordance
  wi lh Environmental Law. Nothing herein shall create any obligalion on Lender for an Environmental Cleanup.

         NON-UNIFORM COVENANTS. Borrower and Lender funher covcnan1and agree as follows:
         22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
  Borrower's b reach of any covenant or agreement in this Security Instrument (but not prior to
  acceleration und er Section 18 unless Applicable Law provid es otherwise). The notice shall specify: (a)
  the d efault; (b) the action required to cure the default; (c) a date, not less than 30 d ays from the date the
  notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the default
  on or before the date specified in the notice may result in a cceleration of th e sums secured by this
  Securi ty Instrument a nd sale of the Property. The notice shall further inform Bor rower of the r ight to
  reinstate after acceleration a nd the right to bring a co urt action to iwert the non~xistcnce or a d efault
  or a ny other defense of Bor rower to acceleration and sale. U the d efault is not cured on or before the
  date specified in the notice, Lender a t its optio n may require immediate paymen t in full or aU sums
  secured by this Security Instrumen t withou t fur ther demand a nd may invoke the power or sale a nd a ny
  other remedies permitted by Applicable Law. Lender shall be entitled to collect a u expenses incurred in
  pursuing the remedies p rovided in this Section 22, including, but not limited to, reasonable attorneys'
  fees and costs of title evidence.
         If Lender invokes the power or sale, Lender shall give written notice to Trustee of the occurrence or
  an event or d efault and or Lender 's election to cause the Property to be sold. Trustee shall record a
  notice of sale in each county in which a ny part of the Property is located a nd s haU ma il copies of the
  notice as p rescribed by Applicable La w to Borrower and to the other persons p rescribed by Applicable
  Law. After the time required by Applicable Law a nd a fter publi cation a nd posting of the notice of sale,
  Trus tee, without d ema nd on Borrower, sha Usell the Property a t public auction to the highest bidder for
  cash a t the time a nd place d esigna ted in the notice of sa le. Trustee may pos tpo ne sale of the Property by
  public announcement at the tim e and place of a ny previously scheduled sa le. Lender or its designee may
  purchase the Property a t any sale.
        T rustee s ha ll deliver to the purchaser Trustee's deed con veying the Property without a ny covenant
  or warra nty, expressed or implied. The recitals· in the Trustee's deed sha ll be p rima facie evidence of the
  truth of the s tatements made therei n. Trustee sha ll apply the proceeds of the sale in the followi ng order:
  (a) to a ll expenses of the sale, including, but not limited to, reasonable Trus tee's and attorneys' fees; (b)
  to a ll s ums secured by this Security Instrument; and (c) any excess to the person or persons legally
  entitled to it or to the county treasu rer of the county in which the sale took pla ce.
        23. Release. Upon payment of all sums secured by this Securi1y Instrument, Lender shall rcleac;e this
  Security Instrument. Borrower shall pay any recordalion cosL~. Lender may charge Borrower a fee for
  releasing this Security Instrument, but only if lhe fee is paid 10 a third party for services rendered and lhe
  charging of the fee is permiued under Applicable Law.
        24. S ubstitute Trus tee. Lender may, for any reason or cause, from lime lo time remove Trustee and
  appoint a successor trus1ee to any Trustee appointed hereunder. Wilhou1 conveyance o f the Properly, lhe
  successor trus1ee shall succeed lo all the title, power ·and duties conferred upon Truslee herein and by
  Applicable Law.
        25. Time or Essence. Time is of the essence in each covcnan1of lhis Securi1y Instrument.




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       BY SIGNING BELOW, Borrower accepts and agrees to the tenns and               covenanL~    contained in this
  Security Instrument and in any Rider executed by Borrower and recorded with it.




                     ~~~~~~~~~~~~~~~~~~~~~~~~~ <Seru)
                                                                                                              -Borrower




                                                                                                              ~ Bo1Tower




                     ~~~~~~~~~~~~~~~~~~~~~~~~~<Seru)
                                                                                                              -Borrower




  STAT E OF ARIZONA,




  My Commission Expires:




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                         ADJUSTABLE RATE RIDER
                   (PayOption MTA Twelve Month Average Index - Payment Caps)

                                         0 1 495083                     00013773362305006
                                    [Escrow/Closing #]                      [Doc ID #]
THIS ADJUSTABLE RATE RIDER is made this TWENTY - FIF TH                     day of
MAY, 2 0 0 6              , and is incorporated into and shall be deemed to amend and supplement
the Mortgage, Deed of Trust, or Security Deed (the "Security Instrument") of the same date given by
the undersigned ("Borrower") to secure Borrower's Adjustable Rate Note (the "Note") to
Countrywide Bank, N.A.

("Lender") of the same date and covering the property described in the Security Instrument and
located at:
                                   21 Hummingbird Cir
                                 _Sedona, AZ 86336-7012
                                         [Property Address)

 THE NOTE CONTAINS PROVISIONS THAT WILL CHANGE THE INTEREST RATE AND THE
 MONTHLY PAYMENT. THERE MAY BE A LIMIT ON THE AMOUNT THAT THE MONTHLY
 PAYMENT CAN INCREASE OR DECREASE. THE PRINCIPAL AMOUNT TO REPAY COULD
 BE GREATER THAN THE AMOUNT ORIGINALLY BORROWED, BUT NOT MORE THAN THE
 MAXIMUM LIMIT STATED IN THE NOTE.

      ADDITIONAL COVENANTS: In addition to the covenants and agreements made in the Security
 Instrument, Borrower and Lender further covenant and agree as follows:

   A. INTEREST RATE AND MONTHLY PAYMENT CHANGES
       The Note provides for changes in the interest rate and the monthly paym~nts, as follows:




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                                                                  DOC ID #: 000 1 377336230
2. INTEREST
      (A) Interest Rate
      Interest will be charged on unpaid Principal until the full amount of Principal has been paid. Up
until the first day of the calendar month that immediately precedes the first monthly payment due date
set forth in Section 3 of the Note, I will pay interest at a yearly rate of        8 . 12 5 %. Additional
days interest collected prior to the first monthly payment due date is sometimes called "Per Diem"
interest and is due at the time I close my loan. Thereafter until the first Interest Rate Change Date,
defined below in Section 2(8), I will pay interest at a yearly rate of           3 . 2 5 0 %. This rate is
sometimes referred to as the "Start Rate" and is used to calculate the initial monthly payment
described in Section 3. The interest rate required by this Section 2 of the Note is the rate I will pay
both before and after any default described in Section 7(8) of the Note.

     (B) Interest Rate Change Dates
     The interest rate I will pay may change on the first                       day of
JULY, 2 0 0 6                    , and on that day every month thereafter. Each date on which my
interest rate could change is called an "Interest Rate Change Date." The new rate of interest will
become effective on each Interest Rate Change Date. The interest rate may change monthly, but the
monthly payment is recalculated in accordance with Section 3.

     (C) Index
     Beginning with the first lnterst Rate Change Date, my adjustable interest rate will be based on an
Index. The "Index" is the "Twelve-Month Average" of the annual yields on actively traded United
States Treasury Securities adjusted to a constant maturity of one year as published by the Federal
Reserve Board in the Federal Reserve Statistical Release entitled "Selected Interest Rates (H.15)"
(the "Monthly Yields"). The Twelve Month Average is determined by adding together the Monthly
Yields for the most recently available twelve months and dividing by 12. The most recent Index figure
available as of the date 15 days before each Interest Rate Change Date is called the "Current Index".
     If the Index is no longer available, the Note Holder will choose a new index that is based upon
comparable information. The Note Holder will give me notice of this choice.

      (0) Calculation of Interest Rate Changes
      Before each Interest Rate Change Date, the Note Holder will calculate my new interest rate by
adding                                     F OUR percentage point(s) (          4 • OOO %) ("Margin") to
the Current Index. The Note Halper will then round the result of this addition to the nearest oneceighth
of one percentage point (0.125%). This rounded amount will be my new interest rate until the next
Interest Rate Change Date. My interest will never be greater than           9 • 9 5 0 %. Beginning with
the first Interest Rate Change Date, my interest rate will never be lower than the Margin.

3. PAYMENTS
     (A) Time and Place of Payments
     1 will make a payment every month.


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     I will make my monthly payments on the FIRST                                     day of each month
beginning on July, 2 0 0 6                         . I will make these payments every month until I have
paid all the Principal and interest and any other charges described below that I may owe under the
Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest
before Principal. If, on JUNE O1, 2 O3 6                     , I still owe amounts under the Note, I will pay
those amounts in full on that date, which is called the "Maturity Date."
     I will make my monthly payments at
P.O. Box 10219, Van Nuys, CA 91410 -0 219

or at a different place if required by the Note Holder.

     (8) Amount of My Initial Monthly Payments
     Each of my initial monthly payments until the first Payment Change Date will be in the amount of
U.S. $ 1, 6 2 5 • 5 O                            , unless adjusted under Section 3 (F).            ·

      {C) Payment Change Dates
      My monthly payment may change as required by Section 3(D) below beginning on the
first                     day of JULY, 2007                          , and on· that day every 12th
month thereafter. Each of these dates is called a "Payment Change Date." My monthly payment also
will change at any time Section 3(F) or 3(G) below requires me to pay a different monthly payment.
The "Minimum Payment" is the minimum amount Note Holder will accept for my montt:ily payment
which is determined at the last Payment Change Date or as provided in Section 3(F) or 3(G) below. If
the Minimum Payment is not sufficient to cover the amount of the interest due then negative
amortization will occur.
      I will pay the amount of my new Minimum Payment each month beginning on each Payment
Change Date or as provided in Section 3(F) or 3(G) below.

      {D) Calculation of Monthly Payment Changes
      At least 30 days before each Payment Change Date, the Note Holder will calculate the amount of
the monthly payment that would be sufficient to repay the unpaid Principal that I am expe.cted to owe
at the Payment Change Date in full on the maturity date in substantially equal payments· at the interest
rate effective during the month preceding the Payment Change Date. The result of this calculation is
called the "Full Payment." Unless Section 3(F) or 3(G) apply, the amount of my new monthly payment
effective on a Payment Change Date, will not increase by more than                   7 • 5 OO% of my prior
monthly payment. This        7. 500% limitation is called the "Payment Cap." This Payment Cap
applies only to the Principal and interest payment and does not apply to any escrow payments Lender
may require under the Security Instrument. The Note Holder will apply the Payment Cap by taking the
amount of my Minimum Payment due the month preceding the Payment Change Date and multiplying
it by the number        1 . 0 7 5 . The result of this calculation is called the "Limited Payment." Unless
Section 3(F) or 3(G) below requires me to pay a different amount, my new Minimum Payment will be
the lesser of the Limited Payment and the Full Payment.


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     (E) Additions to My Unpaid Principal
     Since my monthly payment amount changes less frequently than the interest rate, and since the
monthly payment is subject to the payment limitations described in Section 3(D), my Minimum
Payment could be less than or greater than the amount of the interest portion of the monthly payment
that would be sufficient to repay the unpaid Principal I owe at the monthly payment date in full on the
Maturity Date in substantially equal payments. For each month that my monthly payment is less than
the interest portion, the Note Holder will subtract the amount of my monthly payment from the amount
of the interest portion and will add the difference to my unpaid Principal, and interest will accrue on the
amount of this difference at the interest rate required by Section 2. For each month that the monthly
payment is greater than the interest portion, the Note Holder will apply the payment as provided in
Section 3(A).

     (F) Limit on My Unpaid Principal; Increased Monthly Payment
     My     unpaid     Principal    can    never     exceed   the    Maximum       Limit  equal     to
           ONE HUNDRED FIFTEEN percent (                      115 %) of the Principal amount I
originally borrowed. My unpaid Principal could exceed that Maximum Limit due to Minimum Payments
and interest rate increases. In that event, on the date that my paying my Minimum Payment would
cause me to exceed that limit, I will instead pay a new Minimum Payment. This means that my
monthly payment may change more frequently than annually and such payment changes will not be
limited by the Payment Cap. The new Minimum Payment will be in an amount that would be sufficient
to repay my then unpaid Principal in full on the Maturity Date in substantially equal payments at the
current interest rate.

     (G) Required Full Payment
     On the tenth                Payment Change Date and on each succeeding fifth Payment
Change Date thereafter, I will begin paying the Full Payment as my Minimum Payment until my
monthly payment changes again. I also will begin paying the Full Payment as my Minimum Payment
on the final Payment Change Date.

     (H) Payment Options
     After the first Interest Rate Change Date, the Note Holder may provide me with up to three (3)
additional payment options that are greater than the Minimum Payment, which are called "Payment
Options." The Payment Options are calculated using the new interest rate in accordance with Section
2(D). I may be given the following Payment Options :
               (i) Interest Only Payment: the amount that would pay the interest portion of the monthly
         payment. The Principal balance will not be decreased by this Payment Option and it is only
         available if the interest portion exceeds the Minimum Payment.
               (ii) Amortized Payment: the amount necessary to pay the loan off (Principal and
         interest) at the Maturity Date in substantially equal payments . This monthly payment amount
         is calculated on the assumption that the cur'ren~ rate will remain in effect for the remaining
         term .


• PayOptlon MTA ARM Rider
1E310-XX (09/05)                               Page 4 of 6
      Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 36 of 70




                                                             DOC ID #: 00013773362305006
             (iii) 15 Year Amortized Payment: the amount necessary to pay the loan off (Principal
        and interest) within a fifteen (15) year term from the first payment due date in substantially
        equal payments. This monthly payment amount is calculated on the assumption that the
        current rate will remain in effect for the remaining term.

     These Payment Options are only applicable if they are greater than the Minimum Payment.

     B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER

    Section 18 of the Security Instrument entitled "Transfer of the Property or a Beneficial Interest in
Borrower" is amended to read as follows:

      Transfer of the Property or a Beneflclal Interest In Borrower. As used in this Section 18,
"Interest in the Property" means any legal or beneficial interest in the Property, including, but not
limited to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales
contract or escrow agreement, the intent of which is the transfer of title by Borrower at a future date to
a purchaser.
     If all or any part of the Property or any Interest in the Property is sold or transferred (or if
Borrower is not a natural person and a. beneficial interest in Borrower is sold or transferred) without
Lender's prior written consent, Lender may require immediate payment in full of all sums secured by
this Security Instrument. However, this option shall not be exercised by Lender if such exercise is
prohibited by Applicable Law. Lender also shall not exercise this ·option if: (a) Borrower causes to be
submitted to Lender information required by Lender to evaluate the intended transferee as if a new
loan were being made to the transferee; and (b) Lender reasonably determines that Lender's security
will not be impaired by the loan assumption and that the risk of a breach of any covenant or
agreement in this Security Instrument is acceptable to Lender.
     To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a condition to
Lender's consent to the loan assumption. Lender may also require the transferee to sign an
assumption agreement that is acceptable to Lender and that obligates the transferee to keep all the
promises and agreements made in the Note and in this Security Instrument. Borrower will continue to
be obligated under the Note and this Security Instrument unless Lender releases Borrower in writing.
     If Lender exercises the option to require immediate payment in full, Lender shall give Borrower
notice of acceleration. The notice shall provide a period of not less than 30 days from the date the
notice is given in accordance with Section 15 within which Borrower must pay all sums secured by




• PayOptton MTA ARM Rider
1E310-XX (09/05)                               Page 5 of 6
      Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 37 of 70




                                                          DOC I D #: 00013773362305006
this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period,
Lender may invoke any remedies permitted by this Security Instrument without further notice or
demand on Borrower.

      BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
 this Adjustable Rate Rider.




                                                                                             -Borrower




                                                                                             ·Borrower




                                                                                             ·Borrower




                                                                                             -Borrower




• PayOptlon MTA ARM Rider
1E310-XX (09/05)                            Page 6 of 6
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 38 of 70




                                        1-4 FAMILY RIDER
                                             (Assignment of Rents) ·
  After Recording Return To:
  COUNTRYWIDE HOME LOANS, INC.
  MS SV-79 DOCUMENT PROCESSING
  P.O.Box 10423
  Van Nuys, CA 91410-0423



  Prepared By:                                                      ·.
  KYLE CLAYTON




                                               01495083                            00013773362305006
                                          [Escrow/Closing JJ                           [Doc ID JJ


       THIS 1-4FAMILYRIDERis madetJiis TWENTY-FIFTH                             dayof MAY, 2006                     ,
  and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or
  Security Deed (the "Sccl!rity Instrument") of tJie same date given by tJic undersigned (tJie "Borrower"') to secure
  Borrower's Note to
  Countrywide Bank, N.A.

  (tJic "'Lender") of tJie same date and covering the Property described in the Security Instrument and located at:
                                          21 Hummingbird Ci r
                                         Sedona, AZ 86336-7012
                                                  [Propeny Address]

        1-4 FAMILY COVENANTS. In addition to tJie covenant~ and                  agreement~   made in the Security
  Instrument, Borrower and Lender further covenant and agree as follows:                            ~-
  MULTISTATE 1-4 FAMILY RIDER· Fannie MaeJFreddie Mac UNIFORM INSTRUMENT                               _
  ~ -57R (0401 ).01          CHL (06/04}(d}   Page 1 of 3                                      Initials·
                                VMP Mortgage Solutions, Inc. (800)521-7291                          For    3170 1/01




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  · . 23991'
                                                               11111~ llll!lll~IHIHI~ I
                                                                • 1 3 7 7 3 3 8 2 3 0 0 0 0 0 2 0 5 7 R '
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 39 of 70




                                                                   DOC ID i: 00013773362305006
        A. ADDITIONAL PROPERTY SUBJECT TO THE SECURITY INSTRUMENT. Jn addition Lo Lhe
  Property described in lhe Security Instrumen1. lhe following i1ems now or hereafter auached to 1he Property 10
  1he extenl 1hey are !ix1urcs are added 10 the Properly de.~ription, and shall also constiLuLe lhe Properly covered
  by lhe Securi1y Ins1n1ment building ma1erials, appliances and goods of every naiurc whaLSoever now or
  hereafter located in, on, or used, or in1ended to be used in connec1ion wi1h 1he Property, including, but noL
  limi1ed to, Lhose for lhe purposes of supplying or dislributing heating, cooling, eleclricily, ga~. water, air and
  light, lire preven1ion and extinguishing apparaws, sccurily and access control apparatus, plumbing, bath lubs,
  water heaters, water close1s, sinks, ranges, stoves, refrigerators, dishwashers, disposals, washers, dryers,
  awnings, stonn windows, stonn doors. screens, blinds, shades, curtains and curtain rods, auached mirrors,
  cabinets, paneling and a1tached floor coverings, all of which, including replacemenL~ and addiLions therc10, shall
  be deemed to be and remain a part of the Properly covered by the Securi1y Instrument. All of 1he foregoing
  1oge1her with lhe Properly described in the Security Instrumen1 (or the leasehold e.~tate if the Securily
  lnstrumenl is on a leasehold) are referred 10 in this 1-4 Family Rider and the Securi1y lns1.rumen1 as 1he
  "Property."

       B. USE OF PROPERTY; COMPLIANCE WITH LAW. Borrower shall not seek, agree to or make a
  change in the use of the Property or iL~ zoning cla'>.~i!ica1ion, unless Lender has agreed in wri1ing to 1he change.
  Borrower shall comply wilh all laws, ordinances, regulations and rcquiremenL5 of any govemmen1al body
  applicable to lhe Property.

        C. SUBORDINATE LIENS. Excepl as penniued by federal law, Borrower shall no1 allow any· lien
  inferior to the Securi1y lnstrurncn1 IO be perfec1ed agains1 1he Property withou1 Lende(s prior wriuen
  pcnnission.

       D. RENT LOSS INSU RANCE. Borrower shall maintain insurance againsl reni loss in addition 10 lhe
  01her hazard.5 for which insurance is required by Section 5.

       E. "BORROWER'S RIGHT T O REINSTATE" DELETED. Section 19 is deleted.

       F. BORROWER'S OCCUPANCY. Unless Lender and Borrower 01herwisc agree in wri1ing, Sec1ion 6
  concerning Borrower's occupancy of 1he Property is dele1ed.

        G. ASSIGNMENT OF LEASES. "Upon Lender's reque.5t aflCr default. Borrower shall assign 10 Lender
  all lea5es of the Property and all security deposiL~ made in connec1ion with leases of Lhe Properly. Upon the
  assignment. Lender shall have 1he righ1 10 modify, ex1end or 1ennina1e the existing lea5e.~ and 10 execu1e new
  leases, in Lender's sole discretion. As used in 1his paragraph G, 1he word "lease" shall mean "sublease" if 1he
  Security JnsLrumen1 is on a leasehold.

        H. ASSIGNMENT OF RENTS; APPOINTMENT OF RECEIV ER; LENDER lN POSSESSION.
  Borrower absolutely and uncondi1ionally assigns and 1.ransfers 10 Lender all 1he renLS and revenues ("RenL~") of
  the Property, regardless of Lo whom 1he Rents of the Properly are payable. Borrower au1horizcs Lender or
  Lender's agenLS 10 collect 1he Rents, and agrees lhat each tcnan1 of the Property shall pay 1he RenLS 10 Lender or
  Lender's agents. However. Borrower shall receive the Rems un1il: (i) Lender has given Borrower notice of
  defaull pursuant to SecLion 22 of lhe Security Instrument. and (ii) Lender ha.~ given notice 10 the 1enant(s) 1hat
  1he Rent~ are to be paid 10 Lender or Lender's agent This assignment of Rems conslitu1es an absolute
  assignmen1 and 001 an assignmen1 for additional security only.
        If Lender give.5 no1ice of default to Borrower: (i) all RenL~ receiv~ by Borrower shall be held by Borrower
  as trus1ee for the beneli1 of Lender only, to be applied 10 the sums secured by the Security lnstrumen1; (ii)
  Lender shall be entitled 10 collecl and receive all of the RenL5 of lhe Property; (iii) Borrower agrees tha1 each
  1enan1 of lhe Property shall pay alJ Rents due and unpaid 10 Lender or Lender's agenlS upon Lender's wriuen
  demand 10 1he 1enan1; (iv) unle.ss applicable law provides 01herwise, all RenL~ collecled by Lender or Lender's
  agen1s shall be applied firs1 10 lhe costs of taking control of and managing lhe Property and collecting lhe RenL~.
  including. bu1 no1 limi1ed 10. anomeys' fees, receiver's fee.5, premiums on receiver's bonds, repair d



  Ga-57R (0401).01 CHL (06/04)                       Page 2 of 3
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                                                                 DOC I D I: 00013773362305006
  maintenance costs, insurance premiums. taxes. a<;.-;essmenL> and other charges on the Property, and then to the·
  sums secured by the Security Instrument; (v) Lender, Lender's agents or any judicially appointed receiver shall
  be liable to account for only those Rent5 actually received; and (vi) Lender shall be entitled to have a receiver
  appointed to take po.>session of and manage the Property and collect the Rents and profits derived from the
  Property without any showing a> to the inadequacy of the Property a> security.
        If the Rents of the Property are not sufficient to cover the cost> of taking control of and managing the
  Properiy and of collecting the Rent> any funds expended by Lender for such purpo.>es shall become
  indebtedness of Borrower to Lender secured by the Security Instrument pursuant to Section 9.
        Borrower represent> and warrants that Borrower has not executed any prior assignment of the Rents and
  has not performed, and will not perform, any act that would prevent Lender from exercising its rights under this
  paragraph.
        Lender, or Lender's agents or a judicially appointed receiver, shall not be required to enter upon, take
  control of or maintain the Property before or after giving notice of defauh to Borrower. However, Lender, or
  Lender's agents or a judicially appointed receiver, may do so at any time when a default occurs. Any application
  of Rents shall not cure or waive any default or invalidate any other right or remedy of Lender. This ao;signment
  of Rent> of the Property shall terminate when all the sums secured by the Se<:urity Instrument are paid in full.

      I. C ROSS-DEFAULT PROVISION. Borrower's default or breach under any note or agreement in which
  Lender has an interest shall be a breach under the Security Instrument and Lender may invoke any of the
  remedies permitted by the Security Instrument.

      BY SIGNING BELOW, Borrower accepts and                 s to the terms and provisions contained in this 1-4
  Family Rider.


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                                                                     _   i. :· := : .
                                                                         _ _ _ _• _ _ __ _ (Seal)

                                                                                                       ·Borrower



                     - - - - - - - - - - -- - - - - - - - - - - --   <Seal)
                                                                 -Borrower



                     - - - - - - - - -- --                   -   ------------<Seal)
                                                                               ·Borrower


                     _ _ _ _ _ __             _ _ _ _ __ _ _ _ _ _ __ _ _ __                                (Seal)

                                                                                                       ·Borrower




  ~ -57R (0401 ).01 CHL (06/04)                    Page 3 of 3                                  Fo rm 3170 1/01
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           Exhibit 3
         Case 3:16-cv-08277-DLR Document 14-3
                                    Official
                                               Filed 02/09/17 Page 42 3601435
                                           Records of Coconino
                                                                      of 70
                                                                            County
                               *                  Candace Owens - Recorder 07/28/2011 12:38:59 PM Pgs: 1
First    American            Title                SIMPLIFILE LC E-RECORDING      DOTA      $13.00

RECORDING   REQUESTED          BY:
RECONTRUST   COMPANY
AND WHEN   RECORDED            MAIL   DOCUMENT
AND TAX STATEMENTS             TO:
Bank of America, N.A.
400 Nationalway
SIMI VALLEY,    CA   93065



TS No. XX-XXXXXXX
TITLE ORDER#:     4112748
APN: 401-51-046-5
                                                          SPACE ABOVE THIS LINE FOR RECORDER'S USE

         CORPORATION             ASSIGNMENT          OF   DEED     OF   TRUST        ARIZONA

FOR VALUE       RECEIVED,     THE UNDERSIGNED        HEREBY      GRANTS,     ASSIGNS    AND
TRANSFERS       TO:
        BANK  OF AMERICA,   N.A., SUCCESSOR           BY MERGER     TO BAC HOME            LOANS
           SERVICING,  LP, FKA  COUNTRYWIDE             HOME    LOANS  SERVICING,           LP

ALL BENEFICIAL    INTEREST UNDER      THAT CERTAIN DEED OF TRUST DATED        05/25/2006,
EXECUTED    BY: MICHAEL     J BROSNAHAN,    A MARRIED   MAN  AS  HIS SOLE  & SEPARATE
PROPERTY,TRUSTOR:      TO FIDELITY NATIONAL      TITLE INSURANCE    COMPANY,   TRUSTEE
AND RECORDED      AS INSTRUMENT     NO. 3386186 ON 05/31/2006,IN BOOK N/A, PAGE N/A,
OF OFFICIAL RECORDS      IN THE COUNTY    RECORDER'S   OFFICE OF COCONINO     COUNTY,
IN THE    STATE    OF ARIZONA.
LOT 33, OF CHAPEL        BELLS ESTATES        UNIT   4, ACCORDING          TO CASE     2 OF MAPS,
PAGE 324, RECORDS         OF COCONINO         COUNTY,    ARIZONA
TOGETHER    WITH THE NOTE OR NOTES THEREIN DESCRIBED        OR REFERRED   TO, THE
MONEY    DUE AND TO BECOME   DUE THEREON    WITH INTEREST, AND ALL RIGHTS
ACCRUED    OR TO  ACCRUE UNDER  SAID DEED  OF  TRUST/MORTGAGE.

DATED:   07/27/2011                 MORTGAGE     ELECTRONIC    REGISTRATION
                                               SYSTEMS,    INC.

                Texas                       BY:                                  ;4      19,   /
Stateof:
County of:                             )                  marshiley           ,AssistantSecretary

on        JUL     2 7 2011       beforeme                                      , personally
appeared         Laura Daby            ASSt. 8               , known  to me (orproved to me on the
             -
oathof                    or throug
                                    y  {              ) to be the person whose name issubscribed
to the foregoinginstrumentand acknowledged to me thathe/sheexecutedthesame forthe purposes
and considerationthereinexpressed.
Witne



Ngldry Public's
              Signature                                               STATE OF TEXAS
                                                                    Mycomm.exp.io-tell




                                                                                       Form azasgn (01/02)
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           Exhibit 4
              Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 44 of 70




When Recorded ReturnTo:
Indecomm GlobalServices
2925 CountryDrive
St.Paul,MN 55117

                                  Assignment        of Deed     of Trust
'~198415c2-j
Dated:May 19,2014                                          {\                               Loan:7130832046
For valuereceivedBank of America, N.A.successor by merger to BAC Home Loans Servicing,LP FKA
Countrywide Home Loans Servicing,LP, by Indecomm Global Servicesitsattorneyinfact,7105 Corporate Drive,
PIano,TX 75024, the undersignedherebygrants,assignsand transfers toChristianaTrust,a divisionof Wilmington
Savings Fund Society,FSB, not initsindividual capacitybut as Trustee of ARLP Trust 3, incloAltisourceAsset
Management Corporation,402 Strand Street,Frederiksted,  VI 00820, allbeneficial
                                                                             interest
                                                                                    under a certainDeed of
Trustdated May 25, 2006 executed by MICHAEL J BROSNAHAN,     A MARRIED MAN AS HIS SOLE AND SEPARATE
PROPERTY    and recordedinBook XX on Page(s)XX as Document Number 3386186 on May 31, 2006 of the official
records of the County Recorder of Coconino County, Arizona.


      Bank ofAmerica,N.A.successorby merger to BAC Home
                     LP FKA CountrywideHome Loans
      Loans Servicing,
      Servicing, by Indecomm GlobalServicesitsattorneyin
               LP,
      fact

By:



      Au     Vt S    etag
STATE OF Minnesota                                                           *004682847*
COUNTY      Ramsey                    ) SS                         10349    4/25/2014   79354852/1


On May 19,2014 beforeme, Pang Mee Yang ,Notary Publicinand forsaidStatepersonally     appeared
 Yu Yee Vang ,AssistantSecretaryofBank of America, N.A. successor by merger to BAC Home Loans
Servicing,LP FKA Countrywide Home Loans Servicing,LP, by Indecomm Global Services itsattorneyinfact,
personallyknown to me tobe the person whose name issubscribedtothewithininstrument  and acknowledged to me
thats/heexecutedthesame inhis/her  authorized        and
                                             capacity,   thatby his/hersignatureon theinstrumentthe entity
upon behalfofwhich the person acted,executedtheinstrument.WITNESS   my  hand and        seal.
                                                                                 official

PreparedBy:
Tammy Sorbo
Indecomm GlobalServices
2925 CountryDrive
St.Paul,MN 55117                                           ang Mee Yang, N     Public
                                                       M                      January 31, 2017
                                                            Commission expires:

                                                           /         PANG   MEE YANG
                                                           t         NotaryPublic-Minnesota
                                                               4,a* MyCommisalon Jan31,
                                                                             Expires  2017
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 45 of 70




           Exhibit 5
           Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 46 of 70




When RecordedReturnTo:
Indecomm GlobalServices
2925 CountryDrive
St.Paul,MN 55117                         CORRECTIVE*
                                Assignment       of Deed     of Trust
Dated:July2, 2014                                                                      Loan:7130832046
ForvaluereceivedBank of America,N.A.successor by merger to BAC Home Loans Servicing, LP FKA
Countrywide Home Loans Servicing, LP,by Indecomm GlobalServicesitsattorneyinfact,7105 CorporateDrive,
Plano,TX 75024,theundersigned herebygrants,assignsand transfers          Trust,a division
                                                              toChristiana              of Wilmington
Savings Fund Society,FSB, not initsindividual
                                            capacitybut as TrusteeofARLP Trust4, IncloAltisourceAsset
Management Corporation, 402 Strand       F
                                   Street,            VI
                                           rederiksted,  00820,  beneficial
                                                               all              undera
                                                                         interest            Deed
                                                                                       certain    of
TrustdatedMay 25,2006 executedby MICHAEL J BROSNAHAN, A MARRIED MAN AS HIS SOLE AND SEPARATE
PROPERTY and recordedinBook XX on Page(s)XX as Document Number 3386186 on May 31,2006 oftheofficial
recordsofthe County RecorderofCoconino County,Arizona.


   Bank ofAmerica,N.A.successorby mergertoBAC Home
                  LP FKA CountrywideHome Loans
   Loans Servicing,
   Servicing  , y In    mm GlobalServicesitsattorney
                                                   in
   fact



     ang ee Yang,
    Vice resident
STATE OF Minnesota
COUNTY    Ramsey                   )SS                             *004775843*

On July2,2014 beforeme, Bao Cindy Fang ,NotaryPublicinand forsaidStatepersonallyappeared
 Pangmee Yang ,Vice PresidentofIndecomm GlobalServicesitsattorneyinfactforBank of America,N.A.
successor by merger to BAC Home Loans Servicing,LP FKA Countrywide Home Loans Servicing, LP,
         known tome tobe thepersonwhose name issubscribed
personally                                                tothewithin         and acknowledgedtome
                                                                     instrument
thats/heexecutedthesame inhis/herauthorized       and thatby his/her
                                          capacity,                signature              theentity
                                                                           on theinstrument
upon      ofwhichthe
     behalf          person      executed
                            acted,       theinstrument.WITNESS  my hand and official
                                                                                  seal.

PreparedBy:
        o
nd c mSr oob IServices

St.Paul,MN 55117                                   Bao Cindy Fang,NotaryPublic
                                                                        January 31,2017
                                                   My Commission expires:

            theassigneename on
  *To correct                                                       BAO   CINDY FANG
                                                                     NotaryPublic-Minnesota
  assignmentdated5/19/2014recorded                                    Commission Jan31,
                                                                             Expires  2017
  5/27/2014as Document # 3692738
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 47 of 70




           Exhibit 6
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 48 of 70


   Recording Requested By:
   OCWEN    LOAN  SERVICING,               LLC


   When     Recorded      Return To:


   OCWEN        LOAN     SERVICING,        LLC
   240 TECHNOLOGY             DRIVE
   IDAHO     FALLS,      ID 83401




                                                                                                IIIIIIIIllillllIIIIIllIlllllll11I

                     CORPORATE      ASSIGNMENT                        OF   DEED      OF    TRUST
           Arizona
   Coconino,
   SELLER'SSERVIC1NG#:7130832046
                              "BROSNAHAN"
   SELLER'SLENDER ID#:DW SCI

  Date of Assignment: March 27th, 2015
  Assignor: Christiana Trust, a divisionof Wilmington Savings Fund Society, FSB, not in
  itsindividualcapacity but as Trustee of ARLP   Trust 4 by it'sattorney in fact Ocwen
  Loan Servicing, LLC at 1661 WORTHINGTON          RD, SUITE 100, WEST       PALM   BEACH,
   FL   33409
  Assignee: WILMINGTON               TRUST,       NATIONAL      ASSOCIATION,     NOT IN ITS
  INDIVIDUAL   CAPACITY             BUT AS       TRUSTEE       OF ARLP   SECURITIZATION     TRUST,
   SERIES     2014-2     at C/O OCWEN            LOAN     SERVICING,   LLC., 1661 WORTHINGTON
   ROAD,     STE   100, WEST        PALM     BEACH,          FL   33409


   Executed     By: MICHAEL         J. BROSNAHAN,             A MARRIED        MAN        AS   HIS SOLE   &
   SEPARATE        PROPERTY           To: MORTGAGE                ELECTRONIC         REGISTRATION
   SYSTEMS,    INC., ("MERS"),          SOLELY          AS   NOMINEE       FOR     COUNTRYWIDE            BANK,   NA,
   ITS SUCCESSORS       ANDIOR             ASSIGNS
   Date of Deed        of Trust: 05/25/2006        Recorded:         05/31/2006      in Book/Reel/Liber: N/A
  Page/Folio: N/A as Instrument No.: 3386186                       In the County     of Coconino,     State of
  Arizona.


    KNOW    ALL MEN    BY THESE    PRESENTS,     that for good and valuable consideration,
  the receipt and sufficiency of which is hereby acknowledged, the said Assignor hereby
  assigns unto the above-named     Assignee, the said Deed of Trust having an original
  principalsum   of $373,500.00  with interest,secured thereby, and the fullbenefit of all
  the powers and of allthe covenants and provisos therein contained, and the said
  Assignor hereby grants and conveys                    unto the said Assignee, the Assignor's interest
  under the Deed of Trust.


     TO HAVE    AND TO HOLD     the said Deed of Trust, and the said property unto the
  said Assignee forever, subject to the terms contained in said Deed of Trust. IN
  WITNESS    WHEREOF,     the assignor has executed these presents the day and year first
  above written:

  Christiana Trust, a divisionof Wilmington Savings Fund Society, FSB, not in its
  individualcapacity but as Trustee of ARLP  Trust 4 by it'sattorney in fact Ocwen Loan
  Servicing, LLC
  On      MAR 2 7 2015




                  MMME
    ,Authorized Signer




   ASl"ASIGMAC'03/27/2015
                      AM'GMAC40GMACA000000000000004508301'
                 10.28.26                             7130832046
                                               AZCOCON'      AZSTATE        ASSN"RR"RR1GMAC'
                                                                   TRUST_ASSIGN
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 49 of 70


   CORPORATE           ASSIGNMENT     OF DEED OF TRUST      Page 2 of2



   STATE     OF
   COUNTY         OF         Black Hawk


   On       MAR 2 7 2015            , before me,       MA                       , a Notary Public in
   and for       M                       in the State of        , personally appeared
            ML 3 . MMME          ,Authorized Signer, personally known to me (or proved to
   me on the basis of satisfactoryevidence) to be the person(s) whose name(s) is/are
   subscribed to the within instrument and acknowledged   to me that helshelthey executed
  the same  in his/her/theirauthorized capacity, and that by his/her/theirsignature on the
  instrument the person(s), or the entityupon behalf of which the person(s) acted,
  executed the instrument.



  WITNESS         my hand and official
                                     seal,




  Notary Expires:( /4 / so             sq
                                                                         (This area for notarialseal)




  "ASI"ASIGMAC'03/27/2015
                10.28
                   26AM'GMAC40GMACA000000000000004508301*
                                                     7130832046
                                              AZCOCON'      AZSTATE
                                                                  TRUSTASSIGN
                                                                            ASSN"RRWR1GMAC"
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           Exhibit 7
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 51 of 70


  Recording Requested By:


  And When Recorded Mail To:
  Caliber Home Loans, Inc.
  13801 Wireless Way
  Oklahoma   City, OK 73134



                                 Space above forRecorder'suse

  Customer#: #1      Service#:79049AS1

  Loan#: 9804529874

                              ASSIGNMENT           OF DEED      OF TRUST
  FOR VALUE       RECEIVED,    WILMINGTON        TRUST, N.A. NOT IN ITS INDIVIDUAL
  CAPACITY      BUT AS TRUSTEE        OF ARLP     SECURITIZATION       TRUST,    SERIES
  2014-2, 36C STRAND       STREET,    CHRISTIANSTED,       VI 00820-0000, hereby assign and
  transferto LSF9 MASTER       PARTICIPATION        TRUST,    13801 WIRELESS      WAY,
  OKLAHOMA         CITY, OK     73134-0000, allitsright,titleand interest
                                                                        in and to saidDeed of
  Trust in the amount of $373,500.00, recorded in the Stateof ARIZONA,      County of
  COCONINO        OfficialRecords, dated MAY   25, 2006 and recorded on MAY    31, 2006, as
  Instrument No. 3386186 , in Book No. ---,at Page No. ---
  Executed by: MICHAEL       J BROSNAHAN,       A MARRIED      MAN   AS HIS SOLE &
  SEPARATE       PROPERTY      (OriginalMortgagor).
  OriginalMortgagee: MORTGAGE          ELECTRONIC        REGISTRATION       SYSTEMS,     INC.,
  AS NOMINEE        FOR COUNTRYWIDE          BANK,    N.A. ITS SUCCESSORS       AND
  ASSIGNS.     OriginalTrustee:FIDELITY      NATIONAL       TITLE INSURANCE        COMPANY.

  Date: JULY 19, 2016
  WILMINGTON      TRUST, N.A. NOT IN ITS INDIVIDUAL    CAPACITY    BUT AS
  TRUSTEE    OF ARLP    SECURITIZATION    TRUST, SERIES 2014-2, BY CALIBER
  HOME    LOANS   INC., AS ATTORNEY    IN FACT




  By:
     Kendra     Cook, Vice President

  Stateof           OKLAHOMA                            }
  County of         OKLAHOMA                            } ss.

  On JULY 19, 2016 ,before me, B. Coulter, a Notary Public,personallyappeared Kendra
  Cook , who proved to me on the basisof satisfactory evidence to be the person(s)whose
  name(s) is/aresubscribedto the within instrument and acknowledged to me thathe/she/they
  executed the same in his/her/their
                                   authorizedcapacity(ies) and thatby his/her/theirsigitature(s)
  on the instrumentthe person(s),or the entityupon behalf of which the person(s)acted,
  executed the instrument.
  Witness my hand and official seal.


                                                 !#12004612
                                                   P.05/14/2
                     O                         0>}
  (Notary Name): B. Coul                       1,, 8
                                                    on.n
  My commission expires:05/14/2020

  Prepare By:    NAVYA    ANJUKANDI
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 52 of 70




           Exhibit 8
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 53 of 70
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 54 of 70




           Exhibit 9
      Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 55 of 70




RECORDING    REQUESTED     BY:
Premium TitleAgency, Inc

AND  WHEN    RECORDED     MAIL TO:
Western Progressive- Arizona, Inc.
        Town Center,
Northpark          1000Abernathy Rd NE; Bldg400,Suite         GA 30328
                                                    200,Atlanta,
SPACE
    ABOVE
        TIMSLINEFOR    USE
                RECORDER'S
TS No.:2015-00057-AZ                                                    55713083204644


                             SUBSTITUTION       OF   TRUSTEE

        WHEREAS, MichaelJ Brosnahan,  A inarried
                                               man as hissole& separatepropertywas theoriginal
       FIDELITY NATIONAL TITLE INSURANCE COMPANY
Trustor,                                                   was theoriginal
                                                                        Trustee,and
COUNTRYWIDE      BANK, N.A.AS LENDER MORTGAGE ELECTRONIC REGISTRATION SYSTEMS.1NC,
was theoriginal         underthat
               Beneficiary            DeedofTrustdated05/25/2006
                                certain                          andrecorded
                                                                           on 05/31/2006as
InstrumentNo. 3386186,inbook-, page- ofOfficial
                                             RecordsofCocominoCounty,  Arizona,anddescribeas
follows



LOT 33, OF CHAPEL     BELLS ESTATES      UNIT. 4,ACCORDING       TO CASE    2 OF MAPS,
PAGE 324, RECORDS      OF COCONINO      COUNTY,   ARIZONA




The successor
            trustee      herein
                 appointed           astrustee
                              qualifies     oftheTrustDeed inthetrustee's   asan Insurance
                                                                      capacity
Company s required
                by ARS Section     Subsection
                             33-803,       (A)(6)



      WHEREAS,   theundersigned
                             isthepresent        undersaidDeed ofTrust,
                                        Beneficiary                   and
     Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 56 of 70




TS No.:201S-000S7-AZ                                                  55713083204644




      WHEREAS, theundersigned     tosubstitute
                            desires         a new Trustee
                                                        undersaidDeed ofTrustinplaceand
instead
      ofsaidoriginal    orSuccessor
                  Trustee,        Trustee,         inthemannerinsaidDeed ofTrustprovided,
                                         thereunder,
      NOW, THEREFORE, theundersignedherebysubstitutes                - Arizona,
                                                   Western Progressive         Inc.,
NorthparkTown Center,1000AbernathyRd NE; Bidg400,Suite200,Atlanta,GA 30328asTrustee under
saidDeedofTrust.

Whenever the contexthereofso requires,themasculine gender includesthe feminineand/or
neuter,and the singularnumber includesthe plural.




 Dated:                                           WHmington Trust,National         notinitsindividual
                                                                         Association,
                                                         butasTrusteeofARLP Securitization
                                                  capacity                              Trust,Series
                                                  2014     ts        Ocwen   .n se




                                                      Kristin
                                                            Fron




StateofFlorida
CountyofPalmBeach

The foregoin i strumentwas acknowledged and sworn beforeme this         2
day of                         ,20(, by      Kristin
                                                   Frontera     as
 Contract             of Ocwen Loan Servicing,LLC, who isp                         or who
has produced                           as identification.

                                                                                 EtinM. Weston

                                                                                  ofFlorida
                                                                   otaryPublic-State



My Commission Expires:



                      Net.     malea Pa.ca
                         ryP.ule                                             1.0AZ SOT 0514
                                                                       Version
                      [on W AAston
                    . et0 wrware.*
                                 FF120501

                                                                Notasy
                                                                     Pubhe
                                                                         State
                                                                             ofFknufa
                                                              . Ertn
                                                                   M Weston
                                                                MVCommaramon
                                                                           FF120501
                                                                Expires
                                                                     uses;2cia
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 57 of 70




         Exhibit 10
       Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 58 of 70



RecordingRequested by:



When recordedmailto:
Caliber             - Document Control
      Home Loans,Inc.
13801WIRELESSWAY
OKLAHOMA CITY,OK 73134




                                             Space above thislineforrecordersuse
TS# AZ-16-6657-JY            Order# 160175865-AZ-VOI


                                    Substitution
                                               of Trustee


       WHEREAS, MICHAEL J BROSNAHAN    , A MARRIED MAN AS HIS SOLE & SEPARATE PROPERTY
was the original
               Trustor,FIDELITYNATIONAL TITLE INSURANCE COMPANY    was the original
                                                                                  Trustee,
and MORTGAGE   ELECTRONIC REGISTRATION SYSTEMS, INC.,AS NOMINEE FOR COUNTRYWIDE     BANK,
N.A.,ITS SUCCESSORS AND ASSIGNS was the originalBeneficiaryunder that certainDeed of Trust
dated 5/25/2006 and recorded on 5/31/2006 as InstrumentNo. 3386186, in book xxx,page xxx and
loanmodification dated 9/4/2009 and recordedon 9/4/2009 as InstrumentNumber 3537378, inBook
XX, Page XX of Official
                     Recordsof COCONINO County,AZ describing  landthereinas LOT 33, OF CHAPEL
BELLS ESTATES UNIT 4, ACCORDING    TO CHASE 2 OF MAPS, PAGE 324, RECORDS        OF COCONINO
COUNTY, ARIZONA. and;


       WHEREAS, the undersignedisthe presentBeneficiary
                                                      under saidDeed of Trust,and


       WHEREAS, the undersigned desiresto substitutea new Trustee under said Deed of Trustin
placeand steadof saidoriginal
                            Trustee,or SuccessorTrustee,thereunder,inthe manner providedforin
saidDeed of Trust,


       NOW, THEREFORE, the undersignedhereby substitutes
                                                       SUMMIT SERVICES AND REALTY, LLC,a
California
         Corporation,whose address is16745 W. Bernardo Dr. Suite 100, San Diego,CA 92127 as
Trusteeunder saidDeed ofTrust.




       The successortrusteequalifies
                                   to actas a trusteeunder A.R.S.433-803A (1)initscapacityas a
       licensedArizonaReal EstateBroker.




                                            Page 1
         Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 59 of 70



          ofTrustee- AZ
Substitution
TS # AZ-16-6657-JY
Page 2




Dated:



                                             LSF9 Master Participation
                                                                     Trust,by CaliberHome Loans,
                                                 solelyinitscapacityas servicer
                                             Inc.,




                                       By:               Brandy

                                                        Authorized
                                                                 Signatory
A notarypublic
             orotherofficer
                         completingthiscertificate
                                               verifies
                                                     onlytheidentity
                                                                   oftheindividual
                                                                                who signedthe
documenttowhichthiscertificate
                            isattached,
                                      and notthetruthfulness,     orvalidity
                                                          accuracy,       ofthatdocument.



Stateof California               )
                                 )ss
County ofSan Diego               )

On                      before me,           JeannetteL. Faust , the undersigned Notary Public,
personallyappeared           Brandy Lowry            who  proved  to me on the basisof satisfactory
evidence be the person whose name is ubscribedto the withininstrumentand ac owledged to me
that he sh executed the same in hi er authorizedcapacity,and that by hi er signatureon the
instrumentthe person,or the entityupon behalfof which the person acted,executedthe instrument.


I certifyunder PENALTY OF PERJURY under the laws of the State of California
                                                                          that the foregoing
paragraph istrueand correct.

WITNESS my hand and official
                          seal
                                                                          son    countr
                                                                      Mrconwn.    usetals ?
Signature     M/                                             (Seal)
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 60 of 70




         Exhibit 11
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 61 of 70
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 62 of 70
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 63 of 70




         Exhibit 12
       Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 64 of 70




Recording
        requestedby:
When recordedmailto:
CaliberHome Loans,Inc.-Document Control
13801 WIRELESS WAY
OKLAHOMA    CITY,OK 73134


                                                        Space above thislineforrecordersuse

OrderNo.:160175865-AZ-VOI     TS No.:AZ-16-6657-JY APN :401-51-046
                                                                 5

                                         NoticeofTrustee's
                                                        Sale

The following     described
            legally       trustpropertywillbe sold,
                                                  pursuanttothe power ofSaleunderthatcertain  Deed
of Trustdated 5/25/2006and recorded5/31/2006 as Instrument3386186,Book xxx,Page xxx, and loan
modification
           dated9/4/2009and recordedon 9/4/2009as Instrument Number 3537378,inBook XX,PageXX in
the office
         ofthe County Recorderof COCONINO County,Arizona; and at publicauctionto the highestbidder.
Notice!Ifyou believe
                   thereisa defensetothetrustee
                                              saleor ifyou have an objection
                                                                           tothetrusteesale,
                                                                                           you
must file
        an actionand obtaina courtorderpursuantto rule65,Arizonarulesof civil        stoppingthe
                                                                            procedure,
saleno later
           than5:00p.m.mountainstandardtimeofthe lastbusiness  day beforethescheduleddateofthe
    oryou may havewaivedany defensesor objections
sale,                                          tothesale.Unlessyou obtainan order,
                                                                                 thesalewillbe
final:

SaleDateand Time:           11/23/2016at11:00AM

SaleLocation:               On the stepsfacing
                                             GurleyStreetattheOld YavapaiCountyCourthouselocated
                            at120S.CortezStreet,Prescott
                                                       AZ 86303
LegalDescription:           LOT 33,OF CHAPEL BELLSESTATESUNIT 4,ACCORDING TO CHASE 2 OF MAPS,
                            PAGE 324,RECORDS OF COCONINO COUNTY, ARIZONA
        Street
Purported    Address:       21 HUMMINGBIRD CIR,SEDONA, AZ 86336

TaxParcel
        Number:             401-51-046
                                     5

Original     Balance:
      Principal             $373,500.00


Name and AddressofCurrentBeneficiary:      LSF9MasterParticipation
                                                                 Trust,by Caliber
                                                                                Home Loans,Inc.,
                                           solelyinitscapacity
                                                             asservicer
                                           C/O CaliberHome Loans,Inc.
                                           16745W. BernardoDrive, Ste300
                                           San Diego,CA 92127

Name and AddressofOriginal
                        Trustor:           MICHAEL J BROSNAHAN, A MARRIED MAN AS HISSOLE &
                                           SEPARATE PROPERTY
                                           21 HUMMINGBIRD CIR,SEDONA, AZ 86336-7012

Name and AddressofTrustee/Agent:          SUMMIT SERVICESAND REALTY,LLC
                                          16745W. BernardoDr.,
                                                             Ste100
                                          San Diego,CA 92127
       Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 65 of 70



                                         Phone:(866)248-2679
                                         SalesLine:
                                                  714-730-2727
                                         Loginto:www.servicelinkasap.com
                                         AZ-16-6657-JY



The successor
            trustee        to actas a trustee
                    qualifies               underA.R.S. 933-803A(1)initscapacityas a licensed
                                                                                            Arizona
RealEstateBroker.Ifthe Trusteeisunableto convey title  for any reason,the successful
                                                                                   bidder'ssoleand
exclusiveremedy shallbe the returnof monies paidto the Trustee,and the successful
                                                                                biddershallhave no
furtherrecourse.
               Ifthesaleissetasideforany reason,thePurchaser atthesaleshallbe entitled
                                                                                     onlytoa return
ofthe depositpaid.The Purchasershall
                                   have no furtherrecourseagainstthe Mortgagor,the Mortgagee,orthe
Mortgagee'sAttorney.

Dated:8/23/2016                   SUMMITS      CE   ND          LLC




                                  By:Justin
                                          Yahnke,AVP

A notary   orother
       public     officer      this
                       completing certificate
                                          verifies
                                                onlytheidentity
                                                             oftheindividual
                                                                         who signed
                                                                                  thedocumentto
whichthis
        certificate
               isattached,
                        andnotthetruthfulness,    orvalidity
                                           accuracy,      ofthatdocument.



StateofCalifornia        )

CountyofSan Diego        )



On 8/23/2016beforeme, JanetM. Smith,the undersigned
                                                  NotaryPublic,         appearedJustin
                                                               personally            Yahnke,who
provedto me on the basisof satisfactory
                                     evidenceto be the personwhose name is subscribedto the within
instrumentand acknowledgedto me thathe executedthe same in his authorized          and thatby his
                                                                           capacity,
signature the instrument
        on               the person,or the entityupon behalfof which the personacted,executedthe
instrument.

Icertify
       underPENALTYOF PERJURYunderthelawsoftheStateofCalifornia
                                                             thattheforegoing
                                                                            paragraphistrue
and correct.

WITNESS my hand and official
                         seal                                                    J ETM SMMMTH
                                                                                       # 1997808 E
                                                                              Commission
                                                                 <                     -California
                                                                                   Public
                                                                              Notary

Signaturek                   < ...M MA                 (Seal)               My Com   EDxi sCNv 1.2016



Ifyou havepreviously
                   been discharged               you may havebeen released
                                 throughbankruptcy,                      ofpersonal     for
                                                                                  liability
thisloaninwhichcasethisletter
                            isintended
                                     toexercise
                                              thenoteholder's
                                                            rights
                                                                 againstthereal
                                                                              property
                                                                                     only.
 THISOFFICEISATTEMPTING TO COLLECTA DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT
                                            PURPOSE.
As required
          by law,you areherebynotified
                                    thata negative
                                                 credit             on yourcredit
                                                      reportreflecting          recordmay be
submittedtoa credit
                  report      if
                        agency you fail
                                      tofulfill
                                             thetermsofyourcredit
                                                                obligations.
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 66 of 70




         Exhibit 13
       Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 67 of 70




Recordingrequestedby:

When recordedmailto:
CaliberHome Loans,Inc.- Document Control
13801 WIRELESS WAY
OKLAHOMA   CITY,OK 73134

                                                     above
                                                 Space   this for
                                                            line recorders
                                                                       use

TS #:AZ-16-6657-JY             Title
                                   Order#:160175865-AZ-VOI


                            Cancellation     of Trustee's     Sale


The undersigned
              herebycancels
                          theNoticeofTrustee's
                                             Salerecordedon 8/24/2016Docketxx,Pagexx,
InstrumentNo.3761245,intheoffice
                               oftheCountyRecorderofCOCONINO, StateofArizonaon realproperty
      described
legally       as:

LOT 33,OF CHAPEL BELLSESTATESUNIT4,ACCORDING TO CHASE 2 OF MAPS, PAGE 324,RECORDS OF COCONINO
COUNTY, ARIZONA

Which NoticeofTrustee's
                      Salerefers
                               toa Deed ofTrustexecutedby MICHAEL J BROSNAHAN, A MARRIED MAN
AS HISSOLE & SEPARATE PROPERTY asTrustor(s),
                                           inwhichMORTGAGE ELECTRONICREGISTRATIONSYSTEMS,
INC.,AS NOMINEE FOR COUNTRYWIDE BANK, N.A.,ITSSUCCESSORS AND ASSIGNSisnamed Beneficiary      and
                                                                                         (ies)
FIDELITYNATIONAL TITLEINSURANCE COMPANY asTrustee,  and recorded5/31/2006inDocketxxx,Page
xxx,1nstrumentNo.3386186RecordsofCOCONINO, Arizona. The following
                                                                Deed ofTrustwas dated5/25/2006.

Dated:11/23/2016                  SUMMIT SERVICESAND REALTY,LLC




                                  B .Justin
                                          Yahnke,AVP




A notarypublic
             orotherofficer
                         completingthiscertificate   onlytheidentity
                                               verifies           oftheindividual
                                                                               who signedthe
documenttowhichthiscertificate
                            isattached,
                                      and notthetruthfulness,     or      ofthat
                                                          accuracy, validity    document.


StateofCalifornia
               )
CountyofSan Diego)

         and sworn to (oraffirmed)
Subscribed                       beforeme on 11/23/2016,by Justin
                                                                Yahnke,provedto me on basisof
         evidence
satisfactory     tobe thepersonwho appearedbeforeme.




                              '                                   JEANNETTE
                                                                          L.FAUST
NotaryPublic                                        F                     -California
                                                                     Public
                                                                Notary              5
                                                                   SanDiego         z
                                                                          County    z
                                                    z            Commission
                                                                         # 2063882
                                                              My Comm.Expires
                                                                           May6,2018
Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 68 of 70




         Exhibit 14
       Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 69 of 70




Recording
        requestedby:
When recordedmailto:
CaliberHome Loans,Inc.- Document Control
13801 WIRELESS WAY
OKLAHOMA   CITY,OK 73134

                                                      Space above thislineforrecordersuse

OrderNo.:160175865-AZ-VOI    TS No.:AZ-16-6657-JY APN :401-51-046
                                                                5

                                                      Sale
                                       NoticeofTrustee's

The following     described
            legally                   willbe sold,pursuant
                          trustproperty                                                   Deed
                                                         tothe power ofSaleunderthatCertain
of Trustdated 5/25/2006 and recorded5/31/2006as Instrument3386186,Book xxx,Page xxx, and loan
modification                                              Number 3537378,inBook XX,PageXX in
           dated9/4/2009and recordedon 9/4/2009asInstrument
the office
         ofthe County Recorderof COCONINO County,Arizona;                                bidder.
                                                        and at publicauctionto the highest
Notice!Ifyou believe                          saleor ifyou havean objection
                   thereisa defensetothetrustee                           tothetrustee
                                                                                     sale,
                                                                                         you
must file
        an actionand obtaina courtorderpursuantto rule65,Arizonarulesofcivil        stopping
                                                                           procedure,       the
saleno later
           than 5:00p.m.mountainstandardtimeofthe lastbusiness day beforethescheduled dateofthe
    oryou may havewaivedany defensesorobjections
sale,                                                                           thesalewillbe
                                              tothesale.Unlessyou obtainan order,
final:

SaleDateandTime:          2/27/2017at11:30AM

SaleLocation:             Saleshelddailyat11:30:00AM At theMain entrancetotheCoconinoCounty
                          Court-house,200 N.San Francisco
                                                       Street,       AZ
                                                             Flagstaff,
LegalDescription:         LOT 33,OF CHAPEL BELLSESTATESUNIT 4,ACCORDING TO CASE 2 OF MAPS,
                          PAGE 324,RECORDS OF COCONINO COUNTY, ARIZONA
        Street
Purported    Address:     21 HUMMINGBIRD CIR,SEDONA, AZ 86336

TaxParcel
        Number:                    5
                          401-51-046

Original     Balance:
      Principal           $373,500.00


Name and AddressofCurrentBeneficiary:    LSF9MasterParticipation
                                                              Trust,by Caliber
                                                                             Home Loans,Inc.,
                                              initscapacity
                                         solely           asservicer
                                                   Home Loans,Inc.
                                         C/O Caliber
                                         16745W. BernardoDrive,Ste300
                                         San Diego,CA 92127

Name and AddressofOriginal
                        Trustor:         MICHAEL J BROSNAHAN, A MARRIED MAN AS HISSOLE &
                                         SEPARATE PROPERTY
                                         21 HUMMINGBIRD CIR,SEDONA, AZ 86336-7012

Name and AddressofTrustee/Agent:         SUMMIT SERVICESAND REALTY,LLC
                                         16745W. BernardoDr.,
                                                            Ste100
                                         San Diego,CA 92127
       Case 3:16-cv-08277-DLR Document 14-3 Filed 02/09/17 Page 70 of 70



                                         Phone:(866)248-2679
                                         SalesLine:714-730-2727
                                         Loginto:www.servicelinkasap.com
                                         AZ-16-6657-JY

The successor
            trustee        to actasa trustee
                    qualifies               underA.R.S. 933-803A(1)initscapacityas a licensedArizona
RealEstateBroker.Ifthe Trusteeisunableto convey title  for any reason,the successful
                                                                                   bidder's soleand
exclusiveremedy shallbe the returnof monies paidto the Trustee,and the successful
                                                                                biddershallhave no
furtherrecourse.
               Ifthesaleissetasideforany reason,thePurchaser atthesaleshallbe entitledonlytoa return
ofthe depositpaid.The Purchasershall
                                   have no furtherrecourseagainstthe Mortgagor,the Mortgagee,orthe
Mortgagee'sAttorney.

Dated:11/23/2016                   SUMMIT SERV ES        D RE




                                   By:J stinYahnke,AVP

A notary   orother
       public     officer      this
                       completing certificate
                                         verifies
                                               onlytheidentity
                                                            oftheindividual
                                                                        who signed
                                                                                 thedocumentto
whichthis
        certificate
               isattached,
                        andnotthetruthfulness,   orvalidity
                                          accuracy,      ofthatdocument.



StateofCalifornia        )

CountyofSan Diego        )

On 11/23/2016beforeme,     JeannetteL. Faust       ,the undersignedNotaryPublic,         appeared
                                                                                personally
JustinYahnke,who provedtome on thebasisofsatisfactory
                                                    evidencetobe the personwhose name issubscribed
tothewithininstrumentand acknowledgedto me thathe executedthesame inhisauthorized         and that
                                                                                  capacity,
by hissignature
              on theinstrument
                             the person,orthe entityupon behalfofwhichthe personacted,executedthe
instrument.

Icertify
       underPENALTYOF PERJURYunderthelawsoftheStateofCalifornia
                                                             thattheforegoingparagraphistrue
and correct.
                                                                                L.FAUST
                                                                        JEANNETTE
WITNESS my hand and official
                         seal                              a                    -California
                                                                            Public
                                                                      Notary
                                                                         SanDiegoCounty
                                                          < M     *5
                                                                       Commission2063882
                                                                                #

Signature                                                (Seal)


Ifyou havepreviously
                   been discharged               you may havebeen released
                                 throughbankruptcy,                      ofpersonal      for
                                                                                   liability
thisloaninwhichcasethisletter
                            isintended
                                     toexercise
                                              thenoteholder's
                                                            rights
                                                                 againsttherealproperty
                                                                                      only.
 THISOFFICEISATTEMPTING TO COLLECTA DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT
                                            PURPOSE.
As required
          by law,you areherebynotified
                                    thata negative
                                                 credit             on yourcredit
                                                      reportreflecting          recordmay be
submittedtoa credit
                  report      if
                        agency you fail
                                      tofulfill
                                             thetermsofyourcredit
                                                                obligations.
